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              Exhibit D
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                                                                              Page 1

 1                    UNITED STATES DISTRICT COURT
 2              FOR THE DISTRICT OF SOUTH CAROLINA
 3                           COLUMBIA DIVISION
 4       - - - - - - - - - - - - - - - - - - - -x
 5      THE SOUTH CAROLINA
        STATE CONFERENCE OF
 6      THE NAACP, et al.,
 7                                    Plaintiffs,
 8                  Case No. 3:21-CV-03302-JMC-TJH-RMG
 9
                     -against-
10
        THOMAS C.
11      ALEXANDER, et al.,
12                                    Defendants.
13       - - - - - - - - - - - - - - - - - - - -x
14                                    April 13, 2022
                                      10:31 a.m. (EST)
15
16
17          DEPOSITION of Wm. Weston J. Newton,
18      the Witness in the above-entitled action,
19      held at the above time and place, taken
20      before Garry J. Torres, a Stenographer and
21      Notary Public of the State of New York,
22      pursuant to the Federal Rules of Civil
23      Procedure, Notice and stipulations between
24      Counsel.
25                       *        *         *

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                                                       Page 2                                             Page 4
      1 APPEARANCES:
      2
                                                                 1            STIPULATIONS
         AMERICAN CIVIL LIBERTIES UNION                          2     IT IS HEREBY STIPULATED AND AGREED, by
      3 FOUNDATION
           Attorneys for the ACLU                                3   and among counsel for the respective
      4    915 15th St., NW                                      4   parties hereto, that the filing, sealing
           Washington, DC 20005
      5    TEL: (202) 457-0800                                   5   and certification of the within deposition
           EMAIL: pyan@aclu.org
      6    EMAIL: strivedi@aclu.org
                                                                 6   shall be and the same are hereby waived;
      7 BY: PATRICIA YAN, ESQ.                                   7     IT IS FURTHER STIPULATED AND AGREED
           SOMIL B. TRIVEDI, ESQ.
      8                                                          8   that all objections, except as to form of
      9                                                          9   the question, shall be reserved to the
         NEXSEN PRUET LLC
     10    Attorney for Defendants                              10   time of the trial;
           HOUSE DEFENDANTS
     11    104 South Main Street, Suite 900
                                                                11     IT IS FURTHER STIPULATED AND AGREED
           Greenville, South Carolina 29601                     12   that the within deposition may be signed
     12    TEL: Not provided
           EMAIL: amathias@nexsenpruet.com                      13   before any Notary Public with the same
     13                                                         14   force and effect as if signed and sworn to
         BY: ANDREW MATHIAS, ESQ.
     14                                                         15   before the Court.
     15
         ROBINSON GRAY LLC
                                                                16            * * *
     16    Attorneys for Defendants                             17
           SENATE PRESIDENT ALEXANDER AND
     17     SENATOR LUKE RANKIN                                 18
           1310 Gadsden Street                                  19
     18    Columbia, South Carolina 29201
           TEL: (803) 231-7810                                  20
     19    EMAIL: ltraywick@robinsongray.com
     20 BY: VORDMAN CARLISLE TRAYWICK III,
                                                                21
            ESQ.                                                22
     21
     22                                                         23
     23                                                         24
     24
     25 APPEARANCE CONTINUED ON NEXT PAGE                       25
                                                       Page 3                                             Page 5
      1         I N D E X (cont'd)
      2
                                                                 1          THE VIDEOGRAPHER: Good morning.
      3   BURR & FORMAN LLP                                      2     We're going on the record at
            Attorneys for Defendants
      4     ELECTION DEFENDANTS
                                                                 3     10:32 a.m. on April 13, 2022.
            1221 Main Street, Suite 1800                         4          This is media unit one of the
      5     Columbia, South Carolina 29201
            TEL: Not provided
                                                                 5     video recorded deposition of Wiilliam
      6     EMAIL: jtrinkley@burr.com                            6     Weston J. Newton taken by counsel for
      7   BY: JANE W. TRINKLEY, ESQ.
      8
                                                                 7     the plaintiffs in the matter of the
      9   AMERICAN CIVIL LIBERTIES UNION                         8     South Carolina State Conference for
          FOUNDATION
     10     Attorneys for Unknown
                                                                 9     the NAACP -v- Thomas C. Alexander et
            125 Broad Street, 18th Floor                        10     al. filed in the U.S. District Court
     11     New York, New York 10004
            TEL: (212) 549-2500                                 11     for the District of South Carolina
     12                                                         12     Columbia Division Civil Action Number
          BY: SAMANTHA OSAKI, ESQ
     13                                                         13     3:21-CV-03302-JMC-TJH-RMT.
     14                                                         14          This deposition is being held
          ARNOLD & PORTER KAYE SCHOLER LLP
     15     Attorneys for Plaintiffs                            15     online as a Zoom videoconference with
            601 Massachusetts Ave., N.W.                        16     all parties appearing remotely. My
     16     Washington, D.C. 20001
            TEL: (202) 942-5000                                 17     name is Thomas Devine from Veritext
     17                                                         18     New York and I am the videographer.
          BY: JOHN M. HINDLEY, ESQ.
     18                                                         19     The court reporter is Garry J. Torres
     19                                                         20     also with Veritext New York.
          ALSO APPEARING:
     20                                                         21          I am not authorized to
            RICK ROZOS                                          22     administer an oath, I am not related
     21     TOM DEVINE, VIDEOGRAPHER
     22       * * *                                             23     to any party in this action nor am I
     23                                                         24     financially interested in the outcome.
     24
     25                                                         25          Counsel appearing remotely will
                                                                                                 2 (Pages 2 - 5)
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                                                Page 6                                                     Page 8
      1     now please state their appearances and        1      A. Sure. Wiilliam, W-I-I-L-L-I-A-M
      2     affiliations for record. If there are         2   (sic) Weston; W-E-S-T-O-N; Jones,
      3     any objections to proceeding please           3   J-O-N-E-S; Newton, N-E-W-T-O-N.
      4     state them at the time of your                4      Q. Thank you. Representative
      5     appearance beginning with the noticing        5   Newton, do you understand that you are
      6     attorney.                                     6   testifying under oath today?
      7         After appearances have been               7      A. I do.
      8     noted the court reporter will swear in        8      Q. And do you understand that you
      9     the witness and we may proceed.               9   must testify truthfully and as completely
     10         MS. YAN: Hello. My name is               10   as possible as though we were before a
     11     Patricia Yan. I am an attorney with          11   judge in a courtroom?
     12     the ACLU and I represent plaintiffs in       12      A. I do.
     13     this case.                                   13      Q. Is there anything that might
     14         MR. MATHIAS: My name is Andrew           14   prevent you from understanding my
     15     Mathias. I'm an attorney with Nexsen         15   questions or answering truthfully today?
     16     Pruet and I represent the House              16      A. I don't believe so, no.
     17     defendants.                                  17      Q. Are you taking any drugs or
     18         MS. TRINKLEY: This is Jane               18   medications that may affect your ability
     19     Trinkley with Burr & Forman. I               19   to understand the questions --
     20     represent the election defendants.           20      A. No.
     21         MR. TRAYWICK: This is Lisle              21      Q. -- I ask? Thank you. So
     22     Traywick of Robinson Gray Stepp &            22   Representative Newton, I imagine you're
     23     Laffitte and I represent the Senate          23   familiar with this, but I'll go over some
     24     defendants.                                  24   ground rules now.
     25         MR. TRIVEDI: Somil Trivedi with          25          So in this deposition I will be
                                                Page 7                                                     Page 9
      1     the ACLU for the plaintiff.                   1   asking you some questions. My questions
      2          MS. OSAKI: Samantha Osaki with           2   and your answers will be recorded by the
      3     the ACLU for the plaintiff.                   3   videographer and the court reporter,
      4          MR. HINDLEY: John Hindley of             4   Mr. Torres; do you understand?
      5     Arnold & Porter on behalf of the              5      A. I do.
      6     plaintiffs.                                   6      Q. And so you will to speak up and
      7          THE VIDEOGRAPHER: Okay. If all           7   answer clearly so that the court reporter
      8     attorneys have introduced themselves I        8   can take down your responses. The court
      9     would ask the court reporter to please        9   reporter will not be able to record
     10     swear in the witness.                        10   non-verbal responses like a nod or a shake
     11   W M. W E S T O N J. N E W T O N,               11   of your head; do you understand?
     12        having first been duly sworn by           12      A. I do.
     13         Garry J. Torres, the Notary              13      Q. And as mentioned, the court
     14         Public, was examined and                 14   reporter will also have trouble if we talk
     15         testified as follows:                    15   over each other so it's important that you
     16          MS. YAN: Thank you. Good                16   wait for me to finish my question entirely
     17     morning, Representative Newton and           17   before you begin answering even if you
     18     thank you for being here. My name is         18   think you may know what the rest of the
     19     Patricia Yan. I'm an attorney with           19   question will be. This is especially
     20     the ACLU Voting Rights Project and I         20   important because we are conducting this
     21     represent plaintiffs in this case.           21   deposition remotely. There may be lag or
     22   EXAMINATION                                    22   other tech issues. Does that work?
     23   BY MS. YAN:                                    23      A. It does.
     24     Q. Can you please state and spell            24      Q. And I will also do my best to
     25   your full name for the record?                 25   make sure that I give you a chance to
                                                                                              3 (Pages 6 - 9)
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                                                   Page 10                                                Page 12
      1   completely answer the questions that I ask          1   understand that?
      2   before asking another.                              2      A. I do.
      3          So if I ask you any questions                3      Q. And do you understand why you
      4   that you don't understand please just ask           4   are here today?
      5   me for clarification and I can rephrase.            5      A. I do.
      6   If at any point you recall additional               6      Q. Do you remember when you first
      7   information that is responsive to a                 7   learned about this lawsuit?
      8   question that I previously asked you                8      A. I do not. I mean sometime
      9   please let me know and I will allow you to          9   obviously shortly after it was filed. So
     10   clarify the record. Does that work?                10   it would have been -- you know, sometime
     11      A. It does.                                     11   in January or February.
     12      Q. And if you would like to take a              12      Q. Okay. And do you know who the
     13   break at any time please just let me know.         13   defendants in this lawsuit are?
     14   The only thing I ask is that if there is a         14      A. You know, I'm not -- I don't
     15   pending question you will finish that              15   think I've seen a copy of the pleadings
     16   question or possibly that short line of            16   action, but from the discussion a minute
     17   questions, but then we can take that               17   ago I understand that Lucas, Jordan and
     18   break. Does that work?                             18   Murphy are the named defendants, but no.
     19      A. It does.                                     19   I have a general understanding of who the
     20      Q. Great. Similarly if you                      20   plaintiffs and who the parties are, but I
     21   experience any technical issues with the           21   couldn't rattle off to you who all the
     22   audio or video during the deposition               22   parties involved in the lawsuit are.
     23   please let us know and we can go off the           23      Q. Okay. So you mentioned you have
     24   record and try to fix the issue. Does              24   not seen the pleadings in this case --
     25   that work?                                         25      A. I hadn't focused on the caption
                                                   Page 11                                                Page 13
      1      A. It does.                                      1   of the case in any way.
      2      Q. And throughout the deposition                 2      Q. Okay. But are you familiar with
      3   you may also hear your attorney object to           3   the allegations of the case?
      4   a question from time to time. Some of               4      A. Generally, yes, ma'am.
      5   those objections may be made only for the           5      Q. What do you understand them to
      6   record so in those cases you would still            6   be?
      7   be required to answer the question unless           7      A. Ultimately that there's a
      8   you are instructed not to. Do you                   8   contingent that the process was flawed in
      9   understand that?                                    9   drawing the new lines based on the most
     10      A. I do.                                        10   recent decennial census and as it relates
     11      Q. Okay. So in addition to your                 11   to the specific allegations of what
     12   attorney at Nexsen Pruet and without going         12   specifically was done and I haven't paid
     13   into any content of discussion, have you           13   that close attention to the pleadings.
     14   sought legal advice from any attorneys             14      Q. Understood. And have
     15   about this case?                                   15   you -- again other than your attorneys
     16      A. No. I mean obviously we                      16   have you discussed this lawsuit with
     17   are -- there are some in-house attorneys           17   anyone?
     18   with the House of Representatives, Patrick         18      A. No. My wife obviously knows I'm
     19   Dennis and Emma Dean, but as long as your          19   being deposed today and people in the
     20   question involves and includes them as             20   office know I'm being deposed today so not
     21   well as the Nexsen Pruet lawyers, no.              21   to bother me, but other than that, no.
     22      Q. Okay. Thank you. So now,                     22      Q. No other legislators?
     23   turning to this case, plaintiffs are               23      A. You know, obviously members of
     24   challenging the State House redistricting          24   my delegation know that I'm being deposed
     25   maps under the U.S. Constitution, do you           25   today just because of scheduling issues
                                                                                              4 (Pages 10 - 13)
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                                                  Page 14                                                 Page 16
      1   relative to a delegation meeting, but              1   that plaintiffs wished to depose you?
      2   other than that, no.                               2      A. No, I think I got a telephone
      3          I think Representative Jordan               3   call from Mr. Moore to try to help
      4   and I talked when we were in the State             4   coordinate my schedule and to talk about
      5   House last week that we understood we were         5   when that -- what my availability looked
      6   being deposed this week, but beyond that,          6   like and then obviously he confirmed we
      7   no.                                                7   are going to do it today so I think that's
      8      Q. Understood. Thank you. So are                8   how I got it, not necessarily looking at
      9   you familiar with the plaintiffs in this           9   this piece of paper.
     10   case?                                             10      Q. So for today's deposition where
     11      A. Generally.                                  11   are you physically located?
     12      Q. Do you -- so one of the                     12      A. In my law firm in Bluffton,
     13   plaintiffs in this case is the South              13   South Carolina.
     14   Carolina State Conference of the NAACP.           14      Q. Okay. I see that Mr. Mathias is
     15   Do you know Ms. Brenda Murphy, the                15   in the room with you. Is anyone else in
     16   president of that NAACP branch?                   16   the room with you today?
     17      A. I don't know her personally, but            17      A. No, ma'am.
     18   from recall she I believe appeared either         18      Q. And did you bring any materials
     19   in person or virtually at some of our             19   with you today to the deposition?
     20   public hearings.                                  20      A. I did not.
     21      Q. So prior to this redistricting              21      Q. And you don't have any documents
     22   cycle you had not met or interacted with          22   in front of you?
     23   President Murphy?                                 23      A. No, ma'am. Other than what you
     24      A. Not that I recall.                          24   sent on this computer.
     25      Q. Have you had interactions with              25      Q. Sure. So to prepare for today's
                                                  Page 15                                                 Page 17
      1   the South Carolina NAACP?                          1   deposition did you review any documents?
      2      A. You know, I'm sure that I have               2      A. No. I mean I had my notes from
      3   in my tenure as a public official in some          3   the public hearings that were just my
      4   shape or form, but I couldn't tell you             4   shorthand notes on some legal pads. I
      5   what and when those occasions might have           5   gave those to Andrew, but beyond that I
      6   been or what they may have been related            6   mean I didn't -- I didn't go through and
      7   to.                                                7   review any of them, but I mean obviously I
      8      Q. Okay. Thank you. So moving on                8   had to touch them and see them when I gave
      9   to today's deposition. How did you learn           9   them to him.
     10   about this?                                       10      Q. So did you speak or otherwise
     11      A. I think one of the attorneys at             11   communicate with anyone to prepare for
     12   Nexsen Pruet contacted me and told me that        12   your deposition today?
     13   the plaintiffs wanted to take my                  13      A. Just talked to my lawyers.
     14   deposition this week.                             14      Q. Could you tell us which lawyers?
     15      Q. Okay. And I believe I have                  15      A. Andrew and Mr. Moore and --
     16   entered an exhibit in Exhibit Share. If           16      Q. And for the record, who -- could
     17   you could pull that up and let me know if         17   you please say Mr. Moore's full name?
     18   you see it?                                       18      A. Mark Moore.
     19      A. Okay.                                       19      Q. Mark Moore?
     20      Q. Do you see Exhibit 0001?                    20      A. Yep. And let me think, somebody
     21      A. I do.                                       21   else from Nexsen Pruet was on a Zoom call
     22      Q. Do you recognize this document?             22   for part of our discussion, Jennifer, I'm
     23      A. I mean it's the notice of my                23   not sure of her last name and there's
     24   deposition.                                       24   another gentleman who's one of the lawyers
     25      Q. Yes. So is this how you learned             25   with Mark at Nexsen Pruet, but his name
                                                                                              5 (Pages 14 - 17)
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                                                Page 18                                                    Page 20
      1   escapes me at the moment.                        1   case?
      2      Q. And when did you speak with them           2      A. It settled.
      3   to prepare for this deposition?                  3      Q. So you mentioned that you were a
      4      A. Yesterday.                                 4   party. Have you ever been a party to any
      5      Q. Just yesterday. Were there any             5   other lawsuit other than -- well, have you
      6   other occasions?                                 6   ever been a party to any other lawsuit?
      7      A. Other than the maybe a month ago           7      A. I'm comfortable that as chairman
      8   Mark Moore and I had an initial brief            8   of County Counsel for ten years in Buford
      9   discussion about that it would likely my         9   I was probably named in a number of
     10   deposition -- the plaintiffs would want to      10   lawsuits, but none that I can recall,
     11   take my deposition.                             11   nothing individually or nothing
     12      Q. So you mentioned that you had             12   professionally other than the one case
     13   met yesterday. For approximately how long       13   that I mentioned.
     14   did you meet?                                   14      Q. Okay. Have you ever testified
     15      A. Couple of hours. I mean it was            15   in court whether in your personal or
     16   on a Zoom call when Mr. Mathias was here        16   professional capacity?
     17   in the office.                                  17      A. No.
     18      Q. Was anyone else present other             18      Q. Okay. Thank you. And to ask
     19   than yourself and the attorneys?                19   some background questions now, when were
     20      A. No, ma'am.                                20   you born?
     21      Q. So in preparing for this                  21      A. 1967.
     22   deposition did you communicate with anyone      22      Q. Could you provide your date of
     23   else besides your attorneys in this case?       23   birth?
     24          MR. TRAYWICK: Objection. Asked           24      A. February 22, 1967.
     25      and answered.                                25      Q. And what was your place of
                                                Page 19                                                    Page 21
      1          THE VIDEOGRAPHER: The time is             1   birth?
      2     approximately 10:49 we're going off            2      A. Greenville, South Carolina.
      3     the record without objection.                  3      Q. What is your current address?
      4          (Whereupon, an off-the-record             4      A. 83 Myrtle Island Road, Bluffton,
      5     discussion was held.)                          5   South Carolina.
      6          THE VIDEOGRAPHER: The time is             6      Q. Are you currently registered to
      7     approximately 10:55 -- make that               7   vote at that address?
      8     10:56. We're back on the record.               8      A. I am.
      9          MS. YAN: Thank you.                       9      Q. And so have you ever lived
     10     Q. So Representative Newton, have             10   outside of your current city and if so
     11   you ever been deposed before whether in         11   where?
     12   your personal or professional capacity?         12      A. Well, obviously I was born and
     13     A. I have.                                    13   raised in Greenville. I went to college
     14     Q. How many times?                            14   in Lexington, Virginia obviously in law
     15     A. In the subject of a deposition             15   school, then I lived in Florence, South
     16   only once that I can recall.                    16   Carolina, then I lived in Charleston,
     17     Q. What was the case in which you             17   South Carolina, but sort of temporarily I
     18   were deposed?                                   18   worked for a federal judge and split my
     19     A. It was a real estate dispute,              19   time between the two cities, but had a
     20   malpractice issues.                             20   house in one and apartment in the other
     21     Q. And what was your role in the              21   and then Buford County since 1996.
     22   case?                                           22      Q. Okay. So just briefly to go
     23     A. I was a party and a witness. My            23   through the education. Where did you go
     24   law firm was a party.                           24   to high school?
     25     Q. What was the resolution of the             25      A. J L Mann.
                                                                                            6 (Pages 18 - 21)
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                                                     Page 22                                               Page 24
      1      Q. And where did you go to college?                1      Q. Just for the record, what is
      2      A. Washington and Lee.                             2   that bank?
      3      Q. And when did you graduate?                      3      A. The Bank of Clarendon.
      4      A. Washington and Lee in 1989.                     4      Q. Approximately how much of your
      5   USC -- University of South Carolina Law               5   time is spent working at your law firm
      6   School 1993.                                          6   versus as a State House Representative?
      7      Q. Okay. So what did you study in                  7      A. In the 40 hours a week or more
      8   college?                                              8   are devoted to the law firm.
      9      A. History.                                        9      Q. And as a representative?
     10      Q. You mentioned that you went to                 10      A. It varies week to week.
     11   law school. Did you go to any other                  11   Obviously during session we're there
     12   graduate schools?                                    12   Tuesday, Wednesday and Thursday. If we're
     13      A. Other than law school, no,                     13   not in committee meetings or on the House
     14   ma'am.                                               14   floor I'm back at my apartment doing law
     15      Q. So getting into what you did                   15   firm work generally until 1 or 2 in the
     16   after you graduated from law school and              16   morning. So -- you know, I don't know how
     17   your employment history what was your next           17   to break that down, January to June.
     18   job or position?                                     18   Probably 24 hours a week and then
     19      A. I worked for Johnny Waller as a                19   throughout the rest of the year they're
     20   law clerk in his town finishing up on the            20   either committee meetings that may take me
     21   trial bench and starting on the Supreme              21   to Columbia or on constituent matters as
     22   Court in South Carolina. You want me to              22   the needs arise.
     23   keep going?                                          23      Q. And Representative Newton, do
     24      Q. Well, at that role did you work                24   you have any email addresses?
     25   on any cases relating to voting rights?              25      A. I do, wnewton@jsplaw.net.
                                                     Page 23                                               Page 25
      1      A. None that I'm aware of, no.                     1     Q. Thank you. And --
      2      Q. Anything related to racial                      2     A. Go ahead.
      3   discrimination?                                       3     Q. Go ahead.
      4      A. None that I'm aware of, no.                     4     A. There's a State House address.
      5      Q. Okay. Please continue to your                   5     Q. And what is that?
      6   next position.                                        6     A. I think it's -- I believe it's
      7      A. Then I worked with Judge Halk                   7   westonnewton@sehouse.gov.
      8   (phonetic) in the federal district court              8     Q. And do you have any personal
      9   and then came here to work for this law               9   email addresses?
     10   firm in 1996.                                        10     A. I've got a campaign email
     11      Q. And for the record, what is this               11   address that I think is maybe
     12   law firm?                                            12   westonnewton@hargray.com and an inactive
     13      A. Jones, Simpson & Newton.                       13   Gmail account at least nothing that I
     14   Obviously in 1996 it was known by a                  14   check. I think I still have it, but I
     15   different name, but...                               15   don't think it's used.
     16      Q. And you are currently still                    16     Q. Okay. And have you ever used
     17   working at Jones, Simpson and Newton,                17   any -- sorry. Which of those email
     18   correct?                                             18   addresses do you use primarily for your
     19      A. I am.                                          19   work as a legislator?
     20      Q. Do you have any other current                  20     A. The State House email address is
     21   jobs or positions?                                   21   used to receive and communicate with
     22      A. I'm a member of the South                      22   involving House of Representatives
     23   Carolina House of Representatives. No, I             23   activities.
     24   mean I serve on a bank board, but that's             24     Q. Have you ever used any of the
     25   not a job unfortunately.                             25   other email addresses you listed to send
                                                                                               7 (Pages 22 - 25)
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                                                  Page 26                                                Page 28
      1   or receive anything related to your work           1   have a separate work phone?
      2   as a legislator?                                   2      A. I do not.
      3      A. The JSPLAW address is my primary             3      Q. You do not. So do you have a
      4   email address so I'm certain from time to          4   personal phone?
      5   time I receive email addresses -- receive          5      A. I do.
      6   email there or if I -- if I'm here and             6      Q. Have you ever used that personal
      7   send email out from my office computer it          7   phone to discuss issues relating to your
      8   would be from that address, but as a               8   work as a legislator?
      9   matter of course I would defer people to           9      A. Of course.
     10   the State House address.                          10      Q. And have you used that phone to
     11      Q. Understood and but for those                11   discuss redistricting?
     12   other addresses, the one that you do not          12      A. I would think, yes.
     13   primarily use -- sorry. For the email             13      Q. Okay. And Representative
     14   addresses other than the one that you do          14   Newton, do you -- I think you mentioned a
     15   not primarily use have you used that at           15   Facebook account. Do you have any other
     16   all during this round of redistricting?           16   social media accounts?
     17      A. I'm not sure I understand your              17      A. Yes. I don't know that I can
     18   question. I did and then it sounded like          18   tell you much more than that.
     19   there was a double negative in it. Just           19      Q. You don't know what they are?
     20   so we're clear you can restate it or I'll         20      A. I think there's a Twitter
     21   tell you what I think you asked me.               21   account that might be tied to Facebook
     22      Q. Sure. So for the jsplaw.net                 22   that I see pop up from time to time and I
     23   email address or the campaign address have        23   think that's it.
     24   you used that at all during this round of         24      Q. So do you remember the account
     25   redistricting?                                    25   names or handles?
                                                  Page 27                                                Page 29
      1      A. I don't believe so. The                      1      A. I think there's something that's
      2   campaign email address is tied to a                2   at 120 or maybe it's at Weston Newton at
      3   Facebook page I think is the one that              3   House District 120.
      4   things -- if somebody sent me. I would             4      Q. Okay. Thank you. So I am going
      5   not have used that email address to send           5   to -- well, actually, did you -- on your
      6   anything else. I don't believe that my             6   personal cell phone did you receive any
      7   JSP law email address was used to send             7   texts relating to redistricting?
      8   anything out with regard to redistricting.         8      A. Yes.
      9   So it would -- all communications would            9      Q. Have you used any other apps,
     10   have been through my State House address.         10   messaging apps and received messages
     11          Now, I mean there could have               11   relating to redistricting?
     12   been a scheduling email of where I'm going        12      A. No. Not -- I don't -- I don't
     13   to be relative to when we were trying to          13   know what other messaging apps necessarily
     14   put together a redistricting schedule, but        14   means, but I do text messages.
     15   not -- no communications with regard to           15      Q. Okay. Understood. And who did
     16   redistricting itself.                             16   you receive messages from relating to
     17      Q. Is it possible you may have                 17   redistricting?
     18   received emails relating to redistricting         18      A. Representative Jeff Bradley.
     19   at the JSP email address?                         19      Q. Anyone else?
     20      A. I don't believe so, but -- you              20      A. Chip Camp. Senator Camp and I
     21   know, I get a hundred-plus probably emails        21   may have exchanged text messages, but I
     22   a day so I'm -- there are few things that         22   believe that's it.
     23   I'm absolutely certain about. That's              23      Q. So no other staff at the House
     24   probably one of them that I'm not.                24   of Representatives?
     25      Q. So as an elected official do you            25      A. I mean I -- there could have
                                                                                             8 (Pages 26 - 29)
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                                                  Page 30                                                 Page 32
      1   been a can you do a public hearing on X            1      A. I am.
      2   day. That could have been done through             2      Q. Have you always run for office
      3   text, but I don't recall that.                     3   as a Republican?
      4       Q. Okay. Any messages with the map             4      A. I have.
      5   drawers for the South Carolina State               5      Q. When you ran for Buford County
      6   House --                                           6   Counsel did you run opposed?
      7       A. No.                                         7      A. I did.
      8       Q. -- redistricting plan?                      8           MR. MATHIAS: And for the record
      9       A. No.                                         9      it's Buford in North Carolina. It's
     10       Q. Okay. And have you turned over             10      Buford in South Carolina.
     11   those documents to your attorneys?                11           MS. YAN: I'm so sorry. Buford.
     12       A. I think I have. Yes, ma'am or              12      Thank you.
     13   forwarded them.                                   13      Q. So did you ever run against any
     14       Q. Thank you. And I am now going              14   candidates who were people of color?
     15   to enter another exhibit as Exhibit 2.            15      A. No.
     16   Just one moment. Please let me know if            16      Q. So why did you decide to run for
     17   it's showing up for you.                          17   Buford County Counsel?
     18       A. It is.                                     18      A. One of my first employers told
     19       Q. Okay. Do you recognize this                19   me that as a lawyer educated at the
     20   document?                                         20   university the State's only law school at
     21       A. I do.                                      21   the time and public school we had a
     22       Q. What is it?                                22   responsibility to offer our time in public
     23       A. A subpoena.                                23   service. That's -- and I made that
     24       Q. And have you responded to the              24   decision in the late '90s and here I am
     25   subpoena?                                         25   today.
                                                  Page 31                                                 Page 33
      1          MR. MATHIAS: Objection.                     1      Q. So with the Buford County
      2      A. I haven't.                                   2   Counsel did you serve for multiple terms?
      3      Q. And so to clarify, you have not              3      A. I served from 1999 to 2012.
      4   produced any documents in response to this         4      Q. So how many times did you run
      5   subpoena?                                          5   for this office?
      6      A. Well, I -- the lawyers would do              6      A. '99 was a special election. I
      7   that, not me. So whether they've                   7   would have been I guess either three or
      8   done -- whether they have responded to the         8   four, they're four-year terms so whatever
      9   subpoena or not I don't know, but I have           9   that election cycle is I guess it was '99,
     10   given my lawyers documents. I note that           10   2004, '8 and then no, because I would have
     11   the response date on it looks like it's           11   been in the middle of a cycle and when I
     12   next -- later this week so I -- I don't           12   resigned to run for the State House so
     13   know whether the -- they've provided you          13   three -- I guess probably three times,
     14   this material or not.                             14   maybe four.
     15      Q. Okay. Thank you, Representative             15      Q. And did you always run opposed?
     16   Newton. So now, I'd like to talk about            16      A. No, I did not.
     17   your time on the Buford County Counsel.           17      Q. So what was your role in the
     18          So were you elected to this                18   Buford County Counsel?
     19   position?                                         19      A. I mean I had various committee
     20      A. I was.                                      20   assignments, but from 2002 to 2012 I was
     21      Q. And when were you first elected?            21   chairman.
     22      A. 1999.                                       22      Q. And what types of work did you
     23      Q. Representative Newton, you're a             23   do?
     24   member of the Republican party; is that           24      A. I don't understand the question.
     25   correct?                                          25   As chairman or as a member of County
                                                                                              9 (Pages 30 - 33)
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                                                 Page 34                                                Page 36
      1   Counsel?                                          1      requested one person speak at a time
      2     Q. I guess first as a member and                2      without interruption from anyone
      3   then as chairman?                                 3      else.)
      4     A. Well, those decisions that are               4      Q. -- income, et cetera?
      5   made by local government; zoning, ad              5      A. Sure. So Buford County from
      6   valorem taxes, development codes, trash,          6   1990 to 2000 doubled in population. From
      7   you know, all the public infrastructure           7   1990 -- I mean from 2000 to 2010 it almost
      8   that's local; parks, recreation and as            8   doubled again. I think it was about
      9   chairman -- you know, as the title                9   38 percent the second time. The change in
     10   describes I mean you're the shepherd so to       10   demographics during the period of time
     11   speak and -- you know, you help move the         11   were -- was heavy with Caucasian folks
     12   body forward and run the meetings and that       12   moving into Buford County. Primarily
     13   sort of thing.                                   13   that's retirees from elsewhere in the
     14     Q. So during your time in the                  14   country. The growth in our African
     15   Buford County Counsel did you have any           15   American minority population was not as
     16   experience with voting-related work?             16   significant. From 1990 to 2000 the
     17     A. Yes, ma'am.                                 17   Hispanic growth to the best of my recall
     18     Q. And what was that?                          18   was not significant. From 2000 to 2010
     19     A. We went through redistricting of            19   and beyond obviously that growth has been
     20   the 11 County Counsel districts twice            20   fairly significant.
     21   while I was there.                               21           In most of the charts that
     22     Q. What was your role there in that            22   are -- and I've not seen one lately -- but
     23   local redistricting?                             23   the average income in Buford County was
     24     A. One time I was chairman of                  24   some of the highest in the State. The
     25   County Counsel when we went through it one       25   average weekly wage in Buford County was
                                                 Page 35                                                Page 37
      1   time. One time I don't know if I was              1   lower than the State average and I believe
      2   chairman of the ad hoc committee or               2   those statistics are -- continue to be
      3   whether I just served on the ad hoc               3   accurate today.
      4   committee, but I was among a subset group         4      Q. Thank you, Representative
      5   of County Counsel persons that went               5   Newton. So you mentioned that you had
      6   through the redistricting activities for          6   done redistricting work during your time
      7   local government.                                 7   on the Buford County Counsel. Any other
      8      Q. And did you hold public hearings            8   voting-related work?
      9   for -- during the redistricting cycle?            9      A. Yes. Obviously the entire time
     10      A. Absolutely.                                10   I was on County Counsel if we did anything
     11      Q. So can you tell me,                        11   with regard to referendum questions we had
     12   Representative Newton, a bit about the           12   to get those issues pre-cleared and so --
     13   demographics of your constituents at that        13   you know, there were questions about
     14   time for the Buford County Counsel?              14   adding different taxation, different
     15          MR. MATHIAS: Objection to form.           15   balance lot initiates that would have been
     16      A. I probably need more detailed              16   -- that would have gone through that
     17   information. What -- are you looking for         17   process.
     18   percentages, Are you just looking for            18          Additionally, shortly after
     19   general terms, the trends? Tell me what          19   being elected to the House of
     20   your question is.                                20   Representatives in 2012 I'm also a member
     21      Q. Sure. Is there anything you can            21   of the Jasper County delegation and the
     22   tell me about racial breakdown --                22   Jasper County delegation was sued because
     23          (Whereupon, simultaneous                  23   it had not redistrict -- there had been no
     24      conversation took place disrupting the        24   redistricting activities with regard to
     25      record and the court reporter                 25   the school board in perhaps two cycles.
                                                                                           10 (Pages 34 - 37)
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                                                   Page 38                                                 Page 40
      1   So as a member of the delegation in Jasper          1   always run opposed?
      2   County we were sued and to force the                2      A. No.
      3   redistricting, which had not taken place            3      Q. When have you not?
      4   as it should have in the regular course of          4      A. I'm not opposed in this cycle.
      5   a cycle.                                            5   I was not opposed in '20. I was opposed
      6      Q. Why did it not take place?                    6   in '18. I was opposed in '12.
      7      A. I wasn't a member of the House                7      Q. Okay. And did you ever run
      8   of Representatives. I couldn't tell you             8   against any candidates who were people of
      9   that. I can speculate, but that's not               9   color?
     10   what we're here to do.                             10      A. No, ma'am.
     11      Q. Do you know the resolution of                11      Q. So again, I asked you about the
     12   that case?                                         12   demographics of your district before. Can
     13      A. Absolutely. The -- ultimately                13   you tell me a bit about the demographics
     14   there was a lawsuit filed. I believe that          14   of your State House district?
     15   the NAACP may have been involved. I don't          15      A. It's not dissimilar from Buford
     16   recall the parties, but we went to a               16   County that we talked about. This part of
     17   mediation. There were some differences             17   South Carolina hs experienced significant
     18   between the House and the Senate                   18   growth of retirees and that growth
     19   approaches to redrawing the school                 19   primarily is white and Caucasian.
     20   district lines and ultimately the court            20      Q. Thank you. And why did you
     21   redrew those lines.                                21   decide to run for the South Carolina State
     22      Q. Okay. Thank you. So now moving               22   House of Representatives?
     23   to your time at the State House of                 23      A. I'd been on County Counsel for a
     24   Representatives. Are you elected by                24   decade as chairman and it was -- I thought
     25   district?                                          25   it was time to go do something else. I
                                                   Page 39                                                 Page 41
      1      A. I am.                                         1   had run for the Senate in 2007, ended up
      2      Q. Which district?                               2   in a runoff and lost the runoff and so I
      3      A. 120.                                          3   then waited a handful of years and ran for
      4      Q. And what counties were included               4   the House in '12.
      5   in your State House district prior to the           5       Q. And who did you lose to in the
      6   current redistricting cycle?                        6   runoff?
      7      A. Buford and Jasper counties.                   7       A. Representative Catherine Sykes
      8      Q. Has that changed with the new                 8   who then obviously became Senator
      9   enacted map?                                        9   Catherine Sykes.
     10      A. It has not.                                  10       Q. So what are your duties as a
     11      Q. When you were first elected?                 11   State House Representative?
     12   You may have mentioned this before, but            12       A. You know, consider legislation,
     13   when were first elected to the State House         13   vote on that legislation, I'm not -- I
     14   of Representatives?                                14   mean are you interested in my committee
     15      A. 2012.                                        15   assignments or did I answer your question?
     16      Q. Representative Newton, have you              16       Q. Sure. We will get to the
     17   served for multiple terms in the State             17   committee assignments shortly. I guess
     18   House?                                             18   before that have you been part of any
     19      A. I have.                                      19   caucuses?
     20      Q. And how many times have you run              20       A. I'm a member obviously of the
     21   for this office?                                   21   Republican caucus.
     22      A. So it's a two-year term.                     22       Q. Any others?
     23   Obviously '12, '14, '16, '18, '20 and now          23       A. The military caucus. I think
     24   I'm running for re-election in '22.                24   there's an outdoor caucus. I think that's
     25      Q. And for the State House have you             25   it.
                                                                                              11 (Pages 38 - 41)
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                                                 Page 42                                                     Page 44
      1      Q. So now have you served on any               1      A. No. I mean all of the oversight
      2   committees?                                       2   committee's activities, hearings,
      3      A. Yes.                                        3   documents, material are all online on the
      4      Q. Which ones?                                 4   House Legislative Oversight Committee's
      5      A. The Judiciary Committee and the             5   website. So, no, that's not -- I mean if
      6   legislative oversight.                            6   issues arose and the speaker asked us to
      7      Q. So with the Legislative                     7   go find answers to those questions then
      8   Oversight Committee when did you join?            8   obviously we'd still have the ability to
      9      A. I believe that was 2014. I am               9   go bring any of the State agencies in
     10   the -- it was the year that the committee        10   front of the committee to ask questions
     11   was formed and I am the first chairman of        11   should we be directed to do so or should
     12   that committee and have served in that           12   the need arise.
     13   role since the committee was formed.             13      Q. And does the Legislative
     14      Q. So what are your                           14   Oversight Committee have a direct role in
     15   responsibilities as part of that committee       15   the redistricting process?
     16   or what were?                                    16      A. Has no role whatsoever.
     17      A. The statute that provides that             17      Q. So moving on to the Judiciary
     18   the function of oversight by the                 18   Committee, when did you join that?
     19   legislature is to review of the state            19      A. 2000 -- when I first got
     20   agencies on a seven-year recurring cycle         20   elected, January of 2000 -- November of
     21   and make recommendations as to whether the       21   '12 is I guess is when we technically went
     22   agency and its program activity should be,       22   in, but I was assigned to the Judiciary
     23   continued, curtailed or eliminated. It is        23   Committee when I first got to the State
     24   not a policy making committee. It's an           24   House.
     25   investigatory committee.                         25      Q. How many members are in the
                                                 Page 43                                                     Page 45
      1      Q. So why did you join the                     1   Judiciary Committee?
      2   Legislative Oversight Committee?                  2      A. I think 24 maybe.
      3      A. Because Speaker Lucas called me             3      Q. And why did you join the
      4   in my second year there. The then speaker         4   Judiciary Committee?
      5   had resigned and told me that by                  5      A. I was -- that's the assignment I
      6   reputation I was supposedly a bright              6   got from the State.
      7   lawyer on the Judiciary Committee and he          7      Q. So does the Judiciary Committee
      8   wanted me to serve on oversight and wanted        8   have a role in the voting or electoral
      9   me to be the chairman.                            9   process in South Carolina?
     10      Q. And does the Legislative                   10      A. Absolutely.
     11   Oversight Committee have a role in voting        11      Q. And could you tell me about
     12   or electoral issues in South Carolina?           12   that?
     13      A. Other than in terms of oversight           13      A. Obviously voting law changes
     14   of the State agencies or purposes of an          14   that procedurally move through the House
     15   agency study. So the election commission         15   would typically be assigned to the
     16   has been through the oversight process and       16   Judiciary Committee. I'm not chairman of
     17   through that questioning, yes.                   17   the subcommittee that deals with those
     18          And in fact last year the                 18   issues, but I am on obviously judiciary.
     19   oversight committee was asked to                 19          With redistricting I was one of
     20   investigate or make inquiry as it relates        20   a handful of people on the ad hoc
     21   to the maintenance of voting rolls in            21   committee dealing with redistricting.
     22   South Carolina and how dead people were          22      Q. Thank you. And we will
     23   removed from those rolls.                        23   certainly come back to the ad hoc
     24      Q. And is that investigation still            24   committee a little later, but first just
     25   ongoing?                                         25   with the Judiciary Committee to better
                                                                                            12 (Pages 42 - 45)
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                                                       Page 46                                                 Page 48
      1   understand this, the Judiciary Committee                1   early -- there was an objection in January
      2   has a chairman; is that correct?                        2   of this year. We had a committee meeting,
      3      A. It is.                                            3   the chairman was ill, did not make it to
      4      Q. And who was or who is the                         4   the meeting. There's a provision of the
      5   chairman?                                               5   rules that provides essentially that in
      6      A. Currently the chairman is Chris                   6   the chairman's absence and under during
      7   Murphy.                                                 7   extraordinary times he can prescribe
      8      Q. And how is the chairman of the                    8   different procedures and processes for the
      9   Judiciary Committee chosen?                             9   committee IE, COVID activities.
     10      A. By the members of the Judiciary                  10          I was asked to chair a meeting
     11   Committee.                                             11   by the letter of the chairman in January.
     12      Q. By an election?                                  12   A member of the committee objected to
     13      A. Oh, yeah. I'm sorry. Yes.                        13   that. I recited the appropriate Rule
     14      Q. Does the Judiciary Committee                     14   under which the authority of the chairman
     15   have a vice chairman?                                  15   identified his appointment of my service
     16      A. It does.                                         16   in that capacity for that meeting and that
     17      Q. Any other leadership positions                   17   was it. There was no further pursuit of
     18   within the committee?                                  18   the -- my ruling as acting chairman based
     19      A. There may be a first and a                       19   on our sitting chairman's designation of
     20   second vice chairman and then there are                20   extraordinary procedures in the face of
     21   subcommittee chairmen. The committee                   21   quite frankly a COVID exposure and
     22   itself would elect its chairman and vice               22   illness.
     23   chairman and the subcommittee chairmen are             23      Q. Who was the representative who
     24   appointed by the chairman.                             24   objected?
     25      Q. And who is the vice chairman?                    25      A. John King, the vice chairman.
                                                       Page 47                                                 Page 49
      1      A. John King and I think the second                  1      Q. Did Representative King ever
      2   vice chairman is Neil Collins.                          2   file a formal complaint?
      3      Q. And does that House Judiciary                     3      A. None that I'm aware of, no.
      4   Committee have any procedural rules?                    4      Q. Can you remember any other
      5      A. We do.                                            5   instances where rules of procedure were --
      6      Q. Are these pubically available?                    6   where someone objected that rules of
      7      A. I'm sure.                                         7   procedure were not followed?
      8      Q. Are you able to provide a copy?                   8      A. None that I'm aware of, but let
      9      A. I mean I can go to the website                    9   me make sure I understand. Your question
     10   and pull them up. I don't have a copy,                 10   is am I aware of any other instances of
     11   but I'm sure we can find those. My belief              11   objections that procedures were not
     12   is they're probably published on the                   12   followed, is that correctly --
     13   committee's website.                                   13      Q. That's correct.
     14      Q. Do you know if these rules                       14      A. Yeah, the answer to that is, no.
     15   describe the roles of the chairman and the             15      Q. Well, regardless of whether
     16   vice chairman?                                         16   there was an objection can you remember
     17      A. I believe they do.                               17   instances where the procedural rules were
     18      Q. So what happens if the -- these                  18   not followed?
     19   rules of procedure are not followed?                   19      A. Well, your question assumes that
     20          MR. MATHIAS: Objection.                         20   the procedural rules weren't followed when
     21      A. Good question. I mean obviously                  21   I was asked to be chairman and according
     22   someone could object to the activity that              22   to the chairman's -- to preside as
     23   would be taking place. The rules I                     23   chairman of a meeting, his letter was
     24   believe have a mechanism for that within               24   cited the Rule by which he was asking me
     25   the rules and -- you know, it is I think               25   to serve in that capacity so I'm not sure
                                                                                                  13 (Pages 46 - 49)
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                                                  Page 50                                                Page 52
      1   that I would agree that the committee's            1   Jordan, me, Pat Hennigan (phonetic), Jason
      2   rules were not being followed as that              2   Elliot, that's seven. Brandon Newton was
      3   designation was presented pursuant to the          3   on the committee for a period of time
      4   rules.                                             4   until he had a baby, that's eight. I feel
      5      Q. Okay. And do you have the copy               5   like I'm missing somebody, but I don't
      6   of the letter designating you as acting            6   want to overlook them, but I can't
      7   chairman?                                          7   remember who else may have been there.
      8      A. I do not. It's in the record of              8      Q. Understood. You mentioned that
      9   the committee meeting as it was handed to          9   Representative Newton left because he was
     10   me when I walked into the room.                   10   having a baby. Was he replaced on the
     11      Q. Are you able to provide that                11   committee?
     12   letter?                                           12      A. No, ma'am.
     13      A. I'm not because I don't have a              13      Q. And why not?
     14   copy, but I'm certain that the House              14      A. That's a question for the
     15   Judiciary Committee has and can.                  15   speaker. I mean I -- I don't know. I
     16      Q. Thank you. So now going to the              16   mean our process had already started. We
     17   redistricting ad hoc committee. How does          17   were in the middle of conducting public
     18   this committee relate to the Judiciary            18   hearings and my understanding was having
     19   Committee?                                        19   just had a baby having to travel all over
     20           MR. MATHIAS: Objection.                   20   the State multiple days in a row was not
     21      A. When you say relate I mean it               21   something he was going to be able to
     22   acts as a -- as one of the subcommittees          22   accommodate.
     23   that makes a report back to the full              23      Q. And does the redistricting ad
     24   Judiciary Committee.                              24   hoc committee operate under the same rules
     25      Q. Okay. And when did you join the             25   of procedure as the Judiciary Committee?
                                                  Page 51                                                Page 53
      1   redistricting ad hoc committee?                    1      A. I believe so, yes. I mean we
      2      A. I would have been assigned to                2   don't have an independent set of rules.
      3   that committee sometime last spring I              3   Obviously we adopted criteria for the
      4   guess.                                             4   process, but it's not an ongoing standing
      5      Q. You mentioned that you were                  5   committee. It was an ad hoc committee.
      6   assigned. Did you express any interest in          6      Q. Could you tell me more about the
      7   joining?                                           7   redistricting ad hoc committee's role in
      8      A. I mean I would have had to have              8   this redistricting process?
      9   said I'm willing to do it, but I can't say         9      A. Ultimately we held public
     10   that I lobbied for the opportunity to do          10   hearings all over the State as well as in
     11   so.                                               11   Columbia both in person and virtually.
     12      Q. How many --                                 12   The committee operated like one of the
     13      A. -- discussion about whether I               13   regular standing subcommittees in that we
     14   was willing to serve on that committee or         14   had meetings, received public input,
     15   not and I -- you know, obviously said of          15   advanced legislation, amended legislation
     16   course.                                           16   at the subcommittee level, made a
     17      Q. How many members are on the                 17   recommendation to the full committee for
     18   redistricting ad hoc committee?                   18   legislation then to be amended there and
     19      A. It's either seven or nine I                 19   ultimately passed and sent to the floor of
     20   think.                                            20   the house.
     21      Q. Can you name them?                          21          So it's sort of the first
     22      A. I mean I could if I brought it              22   committee activity of where the
     23   up on the website, but I mean from memory         23   legislation was approved. You know,
     24   I think Neil Collins, Beth Bernstein,             24   obviously the members of the committee had
     25   Justin Bamberg (phonetic throughout), Jay         25   input into the drawing of the maps and the
                                                                                            14 (Pages 50 - 53)
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      1   lines, not as a group of committee                 1      I'm worried the stenographer is taking
      2   members, but as members of the committee           2      all of this down. All right. The
      3   from various parts of the State.                   3      time is 11:49. We're going off the
      4      Q. Okay. Thank you. So you've                   4      record.
      5   mentioned your work with the Judiciary             5           (Whereupon, an off-the-record
      6   Committee and the redistricting ad hoc             6      discussion was held.)
      7   committee. Do you have other issues that           7           (Whereupon, a lunch break was
      8   you focused your legislative efforts               8      taken at 11:50 a.m.)
      9   around?                                            9           THE VIDEOGRAPHER: The time is
     10      A. You know, probably the hallmark             10      approximately 12:46 p.m. We're back
     11   of my time in public service is                   11      on the record.
     12   transparency and accountability and that's        12      Q. Representative Newton, did you
     13   I think probably why I was identified for         13   speak with your attorneys at all during
     14   to start the oversight committee in the           14   that break?
     15   House and -- you know, those are things           15      A. I did.
     16   that during my entire tenure in government        16      Q. Did you speak about any
     17   both local government and Columbia have           17   substantive issues?
     18   been basic tenants that I have advanced in        18      A. Nothing to do with the case, no,
     19   every way, shape and form that I can and          19   ma'am.
     20   our oversight committee has received              20      Q. So I'd like to talk about the
     21   national awards for our work that's               21   map room. Representative Newton, are you
     22   grounded in those areas.                          22   familiar with this term?
     23      Q. Okay. Thank you. So I see that              23      A. I am.
     24   we're getting close to noon and I'm kind          24      Q. And what is the map room?
     25   of at a stopping point. Would this be an          25      A. It was a conference room in the
                                                  Page 55                                                Page 57
      1   okay time for a break, perhaps a lunch             1   block building that was established with
      2   break or do you have any preferences,              2   the computers and monitors and screens for
      3   Representative Newton, on timing?                  3   the redistricting process. House staff
      4      A. Well, I'm giving an idea -- I                4   was there, House counsel would be in there
      5   mean I -- I'm just looking for a window,           5   and the demographers or the folks working
      6   an idea of how much longer we're talking           6   the machines with the maps. So it was
      7   about. Obviously since we're on furlough           7   what it's name is. During the rest of the
      8   this week it's also my time to earn a              8   time I think it's just a conference room
      9   living so I'm -- if we were -- if we               9   in the House. I mean I've never had any
     10   weren't doing this there would be no lunch        10   meeting there, but I think it's just
     11   break. I would just work through it, but          11   another conference room in the House.
     12   I'm sure others may want so I'm okay              12      Q. And did you ever refer to this
     13   taking a quick 15-minute break and getting        13   map room by any other names?
     14   right back to it. If y'all want to take a         14      A. No.
     15   longer break then I'm okay. I would hope          15      Q. No nicknames?
     16   that we keep it to a minimum. Obviously           16      A. No.
     17   just in my private life I do have folks           17      Q. So who was in charge of the map
     18   that want and demand attention. So I'm            18   room?
     19   available for you to tell me what your            19           MR. MATHIAS: Objection.
     20   preference is.                                    20      A. I never asked the question, but
     21          THE VIDEOGRAPHER: I suggest we             21   the Judiciary Committee was responsible
     22      go off the record and talk about this.         22   for -- in the ad hoc committee for
     23          MS. YAN: Sure. Sorry about                 23   redistricting so it would have been House
     24      that.                                          24   counsel, Mr. Jordan and Mr. Murphy may
     25          THE VIDEOGRAPHER: That's okay.             25   have had some formal assignment as
                                                                                            15 (Pages 54 - 57)
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                                                 Page 58                                               Page 60
      1   to -- when you say who was in charge I            1   not with me, but worked the monitors and
      2   mean I -- you know, my first reaction             2   the computer programs relative to the map
      3   would be the House of Representatives.            3   drawing exercise.
      4   Who was coordinating access to the rooms I        4      Q. Do you know any of their names?
      5   would have said Judiciary Committee staff         5      A. I don't. I don't. And quite
      6   that may have been in concert with                6   frankly it could have been a member of the
      7   Mr. Murphy and Mr. Jordan as chairman of          7   outside counsel's team. I just know I
      8   the redistricting ad hoc committee and            8   watched somebody else working on a map on
      9   maybe the speaker had some involvement. I         9   a different terminal than when I was with
     10   don't know.                                      10   Thomas.
     11      Q. So you mentioned that staff and            11      Q. So you mentioned a terminal.
     12   counsel would be in or around the map            12   Are there multiple terminals?
     13   room. Who specifically are you referring         13      A. Well, a computer and a monitor,
     14   to for staff?                                    14   yeah. There are a couple of them.
     15      A. The gentleman's name is Thomas,            15      Q. Did you have any formal rules or
     16   but I can't tell you his last name.              16   procedures governing the use of this map
     17      Q. Is it H-A-U-G-E-R? Does that               17   room?
     18   sound familiar?                                  18      A. I think there were some formal
     19      A. He wears glasses.                          19   rules. I don't have them. I'm not sure
     20      Q. I'm not sure about that, but               20   whether the ad hoc committee approved them
     21   okay.                                            21   or they were just here are the rules
     22      A. I don't know his last name, but            22   relative to the map room, but I mean --
     23   Ms. Dean obviously -- Emma Dean, lawyer to       23   you know, it required -- you know, no cell
     24   the Judiciary Committee, Patrick Dennis,         24   phones, the -- I mean there was a
     25   lawyer to the House, the -- I think I            25   scheduling methodology to it so you didn't
                                                 Page 59                                               Page 61
      1   probably saw one of the other Judiciary           1   just have 124 people show up all at one
      2   Committee lawyers in there, Jimmy.                2   time and overwhelm what was going on and
      3      Q. I'm sorry. Could you say                    3   if you weren't signed up for a time slot
      4   Jimmy's full name for the record?                 4   you couldn't come. So you couldn't just
      5      A. No. Only because I don't know               5   show up.
      6   his last name. I mean I can look up on            6      Q. Okay. Could you tell me more
      7   the website, but there's Emma, Jimmy and          7   about that scheduling or sign-up process?
      8   Roland are three of the lawyers on the            8      A. You know, as a member of the ad
      9   Judiciary Committee and I can't tell you          9   hoc committee -- so there were two
     10   his last name unfortunately.                     10   different methods I guess or two different
     11          And then Mark Moore or one or             11   pathways.
     12   more of the outside counsel may have been        12          One, every member of the House
     13   in there. You know, I was in there I             13   was provided the opportunity to pick a
     14   think three or four occasions. I'm sure          14   time slot or slots and come spend time in
     15   there was another House staff demographer        15   the map room looking at the -- their
     16   in there because Thomas wasn't the only          16   representative district, existing lines
     17   one working the monitors, but I never            17   with the new decennial census information
     18   worked with anybody but him so I don't           18   provided in that and working to see what
     19   know who that other person was.                  19   modifications to that based on the
     20      Q. So there were other                        20   computer programs looked like. That was
     21   demographers?                                    21   as individual members of the House and I
     22      A. I mean demographer may be the              22   availed myself of that perhaps one or
     23   wrong title. There was somebody else,            23   maybe two times, but also as a member of
     24   some other staff member than just Thomas         24   that ad hoc committee there were members
     25   who was capable of working and I believe         25   of the ad hoc committee that came in
                                                                                           16 (Pages 58 - 61)
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                                                 Page 62                                             Page 64
      1   groupings. So for instance when I was             1   know, from sort of the I-95 corridor down
      2   there I was there with Representative             2   to the ocean and to the Georgia line.
      3   Bamberg, my district in this part of South        3      Q. So in your experience was it
      4   Carolina I got the ocean on one side and          4   common for non-ad hoc committee members to
      5   I've got the Georgia line on the other so         5   be in the map room with other
      6   obviously much of anything that happens in        6   representatives at the same time?
      7   this part of the State has a cascading            7      A. Well, my experience obviously I
      8   effect up into the area of the State that         8   was in there with Herbkersman. I think
      9   Representative Bamberg is from and so             9   Mr. Jordan may have been in there. I
     10   Representative Bamberg and I were there on       10   don't know if it was when I was with
     11   a couple of occasions together as members        11   Herbkersman or when Bamberg and I were in
     12   of the ad hoc committee.                         12   there.
     13      Q. So there are different rules for           13          I'm aware that some groups came
     14   members of the ad hoc committee by which         14   in as a delegation. I think the
     15   you can -- multiple members of the ad hoc        15   Greenville folks perhaps came in at that.
     16   committee can be in the map room at the          16   I know at one point when I was leaving the
     17   same time, is that --                            17   I think the Greenville delegation was
     18      A. Well, I mean I think they're               18   coming in behind me.
     19   all -- yes and no. I think the only              19          My Buford delegation never met
     20   difference was as members of the ad hoc          20   as a whole in the map room, but I believe
     21   committee -- as an individual member of          21   that Erickson and Bradley may have been in
     22   the House I was there looking at my              22   there together, but I don't know that. I
     23   individual district and I was there with         23   know that all of us, Rivers, Williams,
     24   Representative Herbkersman on at least one       24   Herbkersman, me, Bradley and Erickson we
     25   occasion. Representative Herbkersman's           25   didn't all go in there collectively as a
                                                 Page 63                                             Page 65
      1   district backs up to mine so we were not          1   delegation, but I believe that some did.
      2   there as a Buford delegation, but we were         2      Q. When you refer to a delegation,
      3   there as two members whose districts              3   does that tend to be a regional delegation
      4   touched each other to look at the issues          4   of neighboring districts?
      5   of population growth and what changing            5      A. It does. I mean when I say the
      6   lines looked like as between our two              6   word "Buford delegation" or "Buford" or
      7   districts again, constrained with ocean           7   "Jasper delegation" it's those members of
      8   and Georgia line. So we had a time slot           8   the House that represent some portion of
      9   that we signed up for.                            9   that county so we have delegation
     10          Members of the ad hoc committee           10   meetings. In fact, I think earlier in the
     11   also had time slots. I don't know whether        11   day I referred to we had a delegation
     12   we signed up for them or we were told this       12   meeting Monday and I mentioned to my House
     13   is the time for you and Bamberg to be up         13   colleagues that I was being deposed later
     14   there, but in our review was not just his        14   in the week. That was a Buford delegation
     15   single district and my single district, it       15   meeting.
     16   was also what other representatives may          16      Q. And back to the sign-up process,
     17   have suggested, looked at, offered input         17   was that just a first-come-first-serve
     18   as to how those districts might look sort        18   process?
     19   of like a mosaic. I mean we weren't just         19      A. I don't think so. Yes, ma'am.
     20   looking at our individual districts or in        20   I don't know of anybody who -- I never
     21   the case of Representative Herbkersman and       21   received any complaints from anybody that
     22   I looking at just what our two districts         22   they couldn't get in. It was open to
     23   looked like. We were as members of the ad        23   everybody to sign up to avail themselves
     24   hoc committee looking at a portion of the        24   and it was open for a number of weeks. I
     25   State sort of his area and my area -- you        25   couldn't tell you how many and I couldn't
                                                                                         17 (Pages 62 - 65)
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      1   tell you how many weeks, but it was my --          1   Representative Bamberg and I were in there
      2   you know, I never heard anybody that               2   sort of at the same time on a regional
      3   didn't have the opportunity to get in              3   basis taking a look, but when I was
      4   there.                                             4   looking at district 120, I apologize,
      5      Q. Do you know who arranged the                 5   that's an accurate description, none of us
      6   sign-up process?                                   6   own those districts, but -- you know,
      7      A. I don't. I have some level of                7   obviously with water and the Georgia line
      8   recall that it would have been a                   8   as some of our restrictions in this part
      9   notification by the Judiciary Committee            9   of the world I was aware of what changes
     10   that the map room was open and for people         10   in my district might be doing to the
     11   to come -- pick a time slot and come sign         11   others around me.
     12   up and start -- you know, looking at the          12       Q. So did other legislators who
     13   district lines with the new census                13   were not ad hoc committee members have
     14   information.                                      14   access to other district information?
     15      Q. Thank you. So you mentioned                 15       A. The same way, yes. You know,
     16   that delegates or representatives could go        16   obviously if you're in there looking at
     17   into the map room as the delegation or            17   the map and understanding what your border
     18   just alone; is that correct?                      18   or a respective district line border
     19      A. Yes.                                        19   looked like and you made that change
     20      Q. And when a representative goes              20   it -- I would push into that district. I
     21   into the map room alone what would you do?        21   didn't explore what limits might have been
     22      A. Sit at the terminal with Thomas             22   on other House members beyond my
     23   in my case. He would show me my -- it's           23   individual experience.
     24   not mine. He would show me the lines for          24           I mean for instance -- you know,
     25   district 120 and then show me what the            25   I wasn't particularly interested in what
                                                  Page 67                                               Page 69
      1   population numbers were, the new census            1   was happening in the Greenville or Rock
      2   data for that district and then we would           2   Hill areas -- you know, my timing there as
      3   look at that and understand what the ideal         3   an individual was what was happening to
      4   size district is and then begin to start           4   the low country and then the low country
      5   adjusting that line based on census blocks         5   as it connected up the I-95 corridor.
      6   to bring that district in to compliance            6      Q. So for district 120 did you draw
      7   with the population numbers.                       7   proposed maps for that district?
      8      Q. But would you only have access               8      A. Yes.
      9   to a single district?                              9      Q. And how many maps -- if you
     10      A. Well, as a member of the ad hoc             10   remember, how many maps did you propose?
     11   committee obviously I had access to all of        11      A. Just one.
     12   the other areas, but the only district            12      Q. And did you view -- well, I'll
     13   when I went in as a -- to look at district        13   take that back.
     14   120 was my district.                              14          So in the map room what kinds of
     15          Now, as I mentioned and -- you             15   resources were there? You mentioned these
     16   know, obviously it's like a puzzle or a           16   terminals and the software, but could you
     17   balloon or a mosaic. I mean when you push         17   explain a little more?
     18   one boundary or restrict one boundary it          18      A. Yeah. I don't know the name of
     19   has a cascading effect on the ones that it        19   the software. When I did this on County
     20   borders.                                          20   Counsel I probably had a better
     21          So obviously I saw what was                21   familiarity with the brand of software
     22   happening to those other districts. I             22   that was being run, but -- you know,
     23   didn't necessarily go into those districts        23   obviously the computer program shows you
     24   to start seeing how they needed to be             24   when you move and modify to follow the
     25   modified, keep working up until                   25   census blocks, then there's a chart that
                                                                                           18 (Pages 66 - 69)
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                                                Page 70                                               Page 72
      1   shows all of the population within that          1   when we were focussed on district -- his
      2   area, the percentages of voting age,             2   number and mine 120 and then on two
      3   race -- you know, all the demographic            3   occasions with Representative Bamberg. I
      4   information from the census as to what's         4   just don't know whether any of those
      5   inside the boundaries as those boundaries        5   overlapped or not so it's between three
      6   are being adjusted.                              6   and four.
      7      Q. When you discussed the rules for           7      Q. Thank you. So who else was
      8   the map room you mentioned I believe that        8   allowed to access the map room?
      9   you could not bring phones in; is that           9      A. Every member of the House, the
     10   correct?                                        10   lawyers, judiciary staff that was working
     11      A. Yeah.                                     11   on it. Beyond that I wouldn't think
     12      Q. Would someone take your phone?            12   anybody. Of course I wasn't there, but I
     13      A. No. I don't know that anybody             13   mean obviously the people who had to hook
     14   would have taken it from me. They may           14   up the computers and do all that. I
     15   have, but I didn't push the envelope.           15   suspect that's the IT folks, but the only
     16      Q. So Representative Newton,                 16   people that were in there when I was there
     17   when -- do you remember when the map room       17   were either lawyers or House staff.
     18   opened for use?                                 18      Q. And do you know if staff does
     19      A. I do not. I mean I know it was            19   that include interns?
     20   with great anticipation that we waited on       20      A. I wouldn't think that -- I never
     21   the numbers to come from the census folks       21   recall seeing any intern in there and I
     22   and I remember being told that will be the      22   would have been surprised if they were.
     23   map room, but I -- in terms of timing I         23   During my visits I don't believe there
     24   don't know that I could identify when that      24   were any interns. I believe everybody was
     25   happened. I mean obviously it was               25   lawyers or staff.
                                                Page 71                                               Page 73
      1   sometime last fall.                              1      Q. Were any other third parties
      2      Q. So do you have a sense of when             2   allowed access to the map room?
      3   you first visited the map room in your           3      A. Not that I'm aware of and they
      4   capacity as an individual legislator?            4   weren't there when I was there.
      5      A. Probably September or October.             5      Q. So anyone, legislator, staffers,
      6      Q. And you mentioned that you only            6   attorneys, would there be records of all
      7   went in -- well, how many times?                 7   these people going into the map room?
      8   Approximately how many times?                    8      A. I wasn't in charge of that, but
      9      A. Either three of four. So I                 9   I -- you know, there was obviously a
     10   think I was there once by myself, Bamberg       10   sign-up process to identify and pick time
     11   and I may have been there at the same time      11   slots. I know when they were doing that.
     12   so I may have done dual duty.                   12   I think there may have been some sign-in
     13   Representative Herbkersman and I, I know        13   sheets of some kind. You know, I want to
     14   were there at the same time because either      14   say I have some vague recall about -- as
     15   he rode up with me or I caught a ride with      15   individuals we had to sign in. If you're
     16   him afterwards and met my wife and we went      16   on the ad hoc committee you were assigned
     17   up to the mountains so I remember that          17   a time so it was different than signing
     18   time and Representative Bamberg were            18   in, but I wasn't in charge of any of that
     19   either there then or he and I had a time        19   and never had the occasion to run that
     20   as members of the ad hoc committee that         20   down in detail other than that I knew
     21   was separate from that.                         21   access was regulated and organized.
     22          So I have a recall of being              22      Q. So I'm going to ask about a few
     23   there one time without Mr. Herbkersman          23   specific people now. First, do you know
     24   again focussed on district 120, I have a        24   who Thomas Hauger is, H-A-U-G-E-R?
     25   recall of being there with Herbkersman          25      A. I believe that's the -- or the
                                                                                          19 (Pages 70 - 73)
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      1   label I would give him would be                    1   have access.
      2   demographer. I think that's -- I think             2      Q. Okay. So I'm going to mark
      3   we're talking about the same person.               3   another exhibit now. Just give me a
      4   I'm -- if you had a picture of him I could         4   moment. Just to let you know, this will
      5   tell you for certain. He's a House staff           5   be the -- well, I'll just do it now. One
      6   person who operated the terminal, knew how         6   moment.
      7   to work the program in adjusting the maps.         7          (Pause in proceedings)
      8   I'm just not certain if that's his last            8          MS. YAN: And apologies. If you
      9   name, but I think it is.                           9      could bear with me a moment. I'm
     10      Q. Okay. Did Mr. Hauger have any               10      having a tech issue. Okay. I believe
     11   roles in the map room?                            11      an exhibit should have been just
     12      A. Not that I'm aware of.                      12      introduced.
     13      Q. Did you ever communicate with               13      Q. Do you see it?
     14   Thomas by email or by phone?                      14      A. I do.
     15      A. I did not.                                  15      Q. Do you recognize this document?
     16      Q. Do you know who Sarah Grace                 16      A. I do. That's the -- without
     17   Williamson is?                                    17   taking time to read the whole thing it
     18      A. No. I do not.                               18   appears to be the criteria that the ad hoc
     19      Q. Do you know who Joleigh Eliza               19   committee adopted for purposes of the
     20   Deguit is and I can spell that,                   20   redistricting exercise.
     21   J-O-L-E-I-G-H, Eliza and then D-E-G-U-I-T?        21      Q. And it says at the top that it
     22      A. I do not.                                   22   was adopted 8/3/2021. Does that sound
     23      Q. Do you know who Megan Goyak is,             23   correct that it would have been adopted on
     24   G-O-Y-A-K?                                        24   August 3, 2021?
     25      A. I do not. Trick question coming             25      A. Yes. I believe that's correct.
                                                  Page 75                                                 Page 77
      1   that I should and I'm ignorant for not,            1      Q. So Representative Newton, is
      2   but unfortunately I don't.                         2   this what you relied upon or you and the
      3      Q. Do you know who Daniel Ingley                3   redistricting committee relied upon for
      4   is? That's I-N-G-L-E-Y.                            4   developing proposed maps?
      5      A. I do not.                                    5      A. It is. Essentially it was our
      6      Q. Okay. And do you know who                    6   criteria or guidelines.
      7   Sebastian Bass is?                                 7      Q. Are there any other documents or
      8      A. I do not. Are you going to tell              8   guidelines outside of these that the
      9   me all these people work in the House and          9   redistricting committee relied upon?
     10   I'm ignorant for not knowing them?                10      A. No. Not that I'm aware of. Not
     11      Q. I'm trying to learn more about              11   that I relied on.
     12   them.                                             12      Q. Understood. So if I could
     13      A. Okay.                                       13   direct you to Roman Numeral II federal law
     14      Q. Thank you. So for the maps, the             14   and a few sentences down it starts to say,
     15   proposed maps that individual legislators         15   the dilution of racial or ethnic minority
     16   drew who -- do you know who collected             16   voting strength is contrary to the laws of
     17   these or how they were collected?                 17   the United States and of the State of
     18      A. I assume they would have been               18   South Carolina and also is against the
     19   stored on the computer.                           19   public policy of this state. Is that
     20      Q. Okay. So just to clarify, the               20   correct?
     21   outside parties like the governor and the         21      A. Yes, ma'am. That's what it
     22   governor's office, they did not have              22   says.
     23   access to the map room?                           23      Q. So can you read aloud the next
     24      A. Not while I was there and that              24   sentence after that?
     25   would have been news to me if they did            25      A. Any proposed redistricting plan
                                                                                             20 (Pages 74 - 77)
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                                                   Page 78                                                 Page 80
      1   that has demonstrated to have the intent            1      Q. Yes, please.
      2   or effect of dispersing or concentrating            2      A. In every case efforts should be
      3   minority population in a manner that                3   made to limit the overall range of
      4   prevents minorities from electing the               4   deviation from the ideal population to
      5   candidates of their choice will neither be          5   less than five percent or a relative
      6   accepted nor approved.                              6   deviation in excess of plus or minus two
      7      Q. Thank you. Did you ever receive               7   and a half percent for each House
      8   any public testimony that your proposed             8   district.
      9   redistricting plan would have the effect            9          Nevertheless any overall
     10   of preventing minorities from electing             10   deviation greater than five percent from
     11   their candidates of choice?                        11   equality or population among South
     12      A. I'm certain that there were                  12   Carolina House districts shall be
     13   input from people that didn't like various         13   justified when it is the result of
     14   pieces or parts of the proposed plans,             14   geographic limitations, the promotion of a
     15   yes. But -- you know, we talked about the          15   constitutionally permissible State policy
     16   growth earlier. The terminology I first            16   or to otherwise comply with the criteria
     17   learned when I was on County Counsel is            17   identified in these guidelines.
     18   the difference of retrogression, natural           18      Q. Thank you. So why was this
     19   retrogression or intentional                       19   population deviation standard chosen?
     20   retrogression. So I mean there were                20      A. Well --
     21   obviously folks that didn't like various           21          MR. MATHIAS: Objection. Go
     22   maps or portions of the state for a host           22      ahead.
     23   of reasons and certainly there were some           23      A. Obviously the ideal number
     24   that would make these suggestions.                 24   mathematically is 41,278. The
     25      Q. And to be clear, these                       25   constitutional principle of one man, one
                                                   Page 79                                                 Page 81
      1   suggestions what are you referring to?              1   vote means that we would ultimately have
      2      A. Well, what you just had me read               2   districts of 41,278.
      3   that people would contend that the maps             3          So in recognizing those
      4   had the effect of dispersing or                     4   parameters we were establishing a five
      5   concentrating minority population in a              5   percent deviation or two and a half up,
      6   manner that prevents minorities from                6   two and a half down number which was in
      7   electing the candidates of their choice             7   the last reapportionment redistricting
      8   and were there people that said that in             8   process in South Carolina and a number
      9   the process that is what we were doing,             9   determined to be appropriate in this
     10   yes, there were.                                   10   year's process as well.
     11      Q. Thank you. And I'll direct you               11      Q. Did you receive any criticism
     12   now to Roman Numeral IV equal population,          12   regarding this choice of population
     13   slash, deviation, do you see that?                 13   deviation?
     14      A. I do. Yes, ma'am.                            14      A. We did.
     15      Q. And then section C below that if             15      Q. And what did you understand were
     16   you could take a moment to look at that            16   the concerns?
     17   and read that to yourself. If you see a            17      A. There were some people that
     18   portion that begins, efforts should be             18   thought we ought to go to ten percent.
     19   made to limit the overall range of                 19   I'm sure there were some that probably
     20   deviation, do you see that?                        20   thought we should go higher than that.
     21      A. I do.                                        21      Q. Did anyone ever ask to go higher
     22      Q. Could you please read beginning              22   than ten percent?
     23   there for the record?                              23      A. I can't recall specifically that
     24      A. Efforts through the end of the               24   the ad hoc committee did deal with a
     25   provision?                                         25   motion after having adopted this criteria
                                                                                              21 (Pages 78 - 81)
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                                                       Page 82                                                     Page 84
      1   to go to ten percent, but that motion was               1   restricted to the internet so while those
      2   not successful and we did not do so.                    2   comments were not lost on me the ideal
      3      Q. So for the concerns motivating                    3   population again one man, one vote is
      4   this motion to go to ten percent do you                 4   41,278 so we were trying to set a number
      5   remember any references to effects on                   5   that allowed flexibility and deviation
      6   minority communities?                                   6   within those parameters and within a
      7      A. Not specifically. I'm sure                        7   parameter of district lines that had been
      8   there probably were. I mean what I recall               8   challenged in the court and had gone
      9   is the suggestion that it had an impact on              9   through pre-clearance in the last
     10   rural areas of the county more so than                 10   redistricting effort in South Carolina and
     11   others, but I don't have necessarily                   11   had been acknowledged as not being
     12   specific recall that it had a different                12   inappropriate in that exercise.
     13   effect on just minorities and I would tell             13      Q. So I guess we can move on to
     14   you that I think all of comments were                  14   section six, compactness, do you see that?
     15   probably anecdotal. I'm not sure that                  15      A. I do.
     16   anybody had any hard fast information at               16      Q. Could you read the second
     17   the point in time certainly when we were               17   paragraph under that section?
     18   talking about the criteria adopting it or              18      A. Compactness should be judged in
     19   at the time that we were -- that we                    19   part by the configuration of prior plans.
     20   entertained the motion to do so.                       20      Q. Could you continue?
     21          As one of the members of the                    21      A. Oh, compactness should not be
     22   committee -- you know, again the ideal                 22   judged based upon any mathematical,
     23   population being 41,278 and the                        23   statistical or formula-based calculation
     24   constitutional principle of one man, one               24   or determination.
     25   vote you're getting farther and farther                25      Q. So why did the redistricting
                                                       Page 83                                                     Page 85
      1   away from that constitutional principle                 1   committee specify that compactness should
      2   with the larger deviation.                              2   not be based on any mathematical,
      3      Q. Are you familiar with any                         3   statistical or formula-based calculation?
      4   concerns that were raised about the U.S.                4      A. Well, recognizing I think that
      5   census data itself resulting in an                      5   in South Carolina again as a rural
      6   undercount?                                             6   community you may have one district that's
      7      A. Just anecdotal.                                   7   a handful of miles from end to end and in
      8      Q. And when people refer to that                     8   other rural parts of the state you may
      9   concern did they mention how that                       9   have to stretch an awful long way in order
     10   undercount would affect the minority                   10   to come up with 41,278 people plus or
     11   community?                                             11   minus two and a half percent.
     12      A. I don't specifically recall                      12      Q. So then how did you assess this
     13   limited to just minority communities. I                13   criterion of compactness?
     14   mean the suggestion was there's no                     14      A. In -- well, you mean outside of
     15   internet access in rural areas which I                 15   a mathematical formula? To try to look at
     16   mean I can remember people saying that,                16   a district that recognized you might have
     17   even the governor has highlighted that and             17   to have larger boundaries in order to get
     18   as a consequence we think that there may               18   to the population necessary, but this was
     19   have been an undercount in terms of the                19   not -- well, quite frankly, that you
     20   census data.                                           20   weren't going to have some really strange
     21      Q. So what did you think of those                   21   looking district that wrapped around
     22   concerns?                                              22   narrow corridors in order to artificially
     23      A. Obviously there are issues                       23   sort of create an area.
     24   relative to the internet. I don't believe              24           I'm -- I guess that's -- you
     25   that the census activities however were                25   know, sort of in just layman terms,
                                                                                                  22 (Pages 82 - 85)
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                                                 Page 86                                               Page 88
      1   compactness means trying to keep the area         1   but or split up those communities of
      2   in a shape and size that represents the           2   interest, but try to be in looking at the
      3   population numbers that you're trying to          3   lines that which was approved before, but
      4   get to without having to or without               4   that also which -- you know, nature
      5   drawing something that looks very abnormal        5   barriers are often boundary lines in terms
      6   or unusual in doing so.                           6   of districts, but commonality of concerns
      7      Q. Thank you. So now if we can                 7   of people within certain areas. You know,
      8   look at section seven, communities of             8   in my part of the world everybody is close
      9   interest. Well, if you don't mind could           9   to the ocean, close to -- everybody in
     10   you please read that first paragraph into        10   this county in the low country of South
     11   the record?                                      11   Carolina is impacted by certain things in
     12      A. Sure. Communities of interest              12   a way that people in inland Jasper,
     13   should be considered in the redistricting        13   Hampton, Allendale, Bamberg all the way up
     14   process. A variety of factors may                14   to Greenville would not have the same
     15   contribute to a community of interest            15   types of concerns.
     16   including but not limited to the                 16      Q. You mentioned natural
     17   following: Economy, social and cultural,         17   boundaries. Could you explain what you
     18   historic influences, political beliefs,          18   mean?
     19   voting behavior, government services,            19      A. Yes, sometimes rivers, streams,
     20   commonality of communications, geographic        20   even municipal boundaries are considered.
     21   location and features. Communities of            21   Obviously the ocean and Georgia line are
     22   interest should be considered and balanced       22   constraints as well.
     23   by the redistricting ad hoc committee, the       23      Q. Representative Newton, did you
     24   House Judiciary Committee and the South          24   see anywhere in this paragraph or
     25   Carolina House of Representatives, county        25   throughout the criteria any reference to
                                                 Page 87                                               Page 89
      1   boundaries, municipality boundaries and           1   the use of highways or roads as a
      2   precinct lines as represented by the              2   consideration for redistricting?
      3   census bureau's tabulation district lines         3       A. County boundaries not as I
      4   may be considered as evidence of                  4   specifically delineated, but -- you know,
      5   communities of interest to be balanced,           5   commonality, government services, I mean
      6   but will be given no greater weight as a          6   you know obviously there may have
      7   matter of state policy than other                 7   some -- that may be associated or
      8   identifiable communities of interest.             8   connected with highway boundaries or
      9          It is possible that competing              9   roadways.
     10   communities of interest will be identified       10       Q. Is it possible that highways may
     11   during the redistricting process although        11   have been built in a way that segregated
     12   it may not be possible to accommodate all        12   different racial communities?
     13   communities of interest, the redistricting       13          MR. MATHIAS: Objection.
     14   ad hoc committee, the House Judiciary            14       A. I have no idea.
     15   Committee and the South Carolina House of        15       Q. Okay. I am done with this
     16   Representatives will attempt to                  16   exhibit and I'm going to enter another
     17   accommodate diverse communities of               17   exhibit into the record now. Just a
     18   interest to the extent possible.                 18   moment. Can you let me know if you see
     19      Q. Thank you. So how did you                  19   the new exhibit?
     20   resolve instances where there were               20       A. Is this our schedule of or at
     21   competing communities of interest?               21   least a schedule of public hearings?
     22      A. I don't know that you ever                 22       Q. I believe so. Do you recognize
     23   resolve it. I mean you try to do the best        23   it?
     24   that you can in recognizing and not              24       A. I do. I mean it says subject to
     25   intentionally split up those districts,          25   change. I don't know whether this was the
                                                                                           23 (Pages 86 - 89)
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                                                      Page 90                                                Page 92
      1   final schedule or not, but it looks like               1      Q. So the -- between the adoption
      2   it.                                                    2   of your criteria for redistricting which
      3       Q. As you look through these                       3   we had discussed was updated on August 3,
      4   different locations for the public                     4   2021, and this first meeting or this first
      5   hearings does this look familiar?                      5   public hearing on September 8th did the
      6       A. It does.                                        6   redistricting committee create any public
      7       Q. How were these locations chosen                 7   education materials about redistricting?
      8   for these public hearings?                             8      A. Not that I'm aware of, no.
      9       A. I wasn't involved in that. I                    9      Q. During that time did the
     10   couldn't tell you.                                    10   redistricting committee advertise the
     11       Q. Do you know --                                 11   hearings?
     12       A. I would tell you that with                     12      A. I'm sure the hearing schedule
     13   regard to Bluffton I made it clear that               13   and hearings were advertised, yes.
     14   Bluffton was a centralized location in                14      Q. Do you know how so?
     15   this part of the low country. You know,               15      A. I do not. I mean if I would
     16   not -- I made sure that the judiciary                 16   guess they were probably sent to local
     17   staff were aware of that and in fact                  17   newspapers, House members been aware, I
     18   suggested that the Bluffton High School               18   could have even published a schedule on a
     19   would be an appropriate location simply               19   Facebook page, but in terms of -- you
     20   because I don't know how familiar they                20   know, knowing what day a notice may have
     21   were or are with Buford County or the                 21   run in the paper or who it went to or what
     22   greater Bluffton area, but Bluffton is                22   local government may have put it on their
     23   generally recognized as being a fairly                23   website I don't know that.
     24   center place in the low country not just              24          I seem to recall the Island
     25   for Buford Hilton Head the Bluffton area,             25   Packet newspaper here having a schedule or
                                                      Page 91                                                Page 93
      1   but also for Jasper area.                              1   reporting on redistricting activities. My
      2      Q. Understood. Thank you. And do                    2   guess would be they made reference to
      3   you know how these dates and times were                3   scheduling that.
      4   chosen?                                                4      Q. Thank you. Do you remember how
      5      A. I do not.                                        5   much advance notice was given to the
      6      Q. Do you know who would have made                  6   public when you announced the schedule of
      7   these decisions?                                       7   public hearings?
      8      A. I would guess they were made by                  8      A. I do not.
      9   Mr. Jordan, Mr. Murphy and probably in                 9      Q. Would it surprise you if it were
     10   concert with counsel; Ms. Dean and                    10   about a week?
     11   Mr. Dennis.                                           11      A. No, not necessarily. I mean I
     12      Q. So looking at these dates does                  12   know that they were trying to pin
     13   it sound correct to you that September 8th            13   locations down and make those
     14   would have been the first public hearing?             14   coordinations as to when and where a
     15      A. I believe so.                                   15   public hearing could be held, but that --
     16      Q. And that the last public hearing                16   you know, I don't -- if you told me it was
     17   would have been on October 4th?                       17   three weeks, two weeks, ten days I
     18      A. I believe that's correct.                       18   couldn't question it one way or the other.
     19      Q. Does it also sound correct that                 19   I just don't know.
     20   October 4th, the date of the last public              20      Q. And did you offer a virtual
     21   hearing was also the first day that the               21   testimony option at all of these public
     22   map room opened?                                      22   hearings?
     23      A. I think that's correct, yes. I                  23      A. I don't believe at all of them,
     24   think that it coincided with the public               24   no. There were virtual options that were
     25   hearings concluding.                                  25   held from Columbia.
                                                                                                24 (Pages 90 - 93)
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                                                  Page 94                                                Page 96
      1      Q. And initially only one of these              1      Q. Does the legislature utilize
      2   hearings was scheduled to have that                2   virtual testimony options for other
      3   virtual testimony option; is that correct?         3   hearings?
      4      A. I remember that there was                    4      A. We did during the
      5   another one that was added, but I don't            5   COVID -- during the pandemic for certain
      6   know whether it was intended to just be a          6   subcommittees or public hearings attended
      7   virtual or another in-person. You know,            7   to subcommittee hearings that were virtual
      8   we were still holding open public                  8   options again from the block building in
      9   hearings. Some people would come, some             9   Columbia.
     10   people obviously expressed concerns about         10      Q. You referenced the COVID
     11   COVID so I know that there were another           11   pandemic so that would have started around
     12   one or another meeting on the schedule.           12   March of 2020; is that correct?
     13   Whether that was originally intended, but         13      A. Yeah, and I don't think we
     14   had not been identified as one of the             14   started doing any hearings using that
     15   public hearings. That I don't know. I             15   stuff until maybe early '21. Could have
     16   wasn't in charge of that. I was told              16   been the fall of '20, but I don't think
     17   where to be and what day and I was there.         17   so. I mean I -- I think I'm fairly
     18      Q. So you don't know why virtual               18   certain of that.
     19   testimony options were not offered at all         19          I don't think we had
     20   the public hearings?                              20   the -- either the know how institutionally
     21      A. Well, no, I don't. I mean I                 21   or flexibility in any of our rules to do
     22   would perhaps speculate that in some              22   so and but obviously we needed to get back
     23   locations trying to coordinate that might         23   to business and there were concerns about
     24   have been more difficult, but if you were         24   having people be exposed and assemble in
     25   going to do it virtually it would beg the         25   groups and so we sort of adapted with
                                                  Page 95                                                Page 97
      1   question as to -- you know, what was the           1   technology and virtual participations with
      2   need of going out into all the areas of            2   an option that was added.
      3   the State. Why not just hold ten virtual           3      Q. Okay. Thank you. I am about to
      4   hearings in Columbia and call it a day.            4   mark a few more exhibits. It's a series
      5   And so I don't -- I don't. I mean I --             5   of exhibits that I will just mark --
      6   having done virtual hearings both with             6      A. Can I have three minutes while
      7   other activities with the Judiciary                7   you're doing that?
      8   Committee and with the oversight committee         8      Q. Sure. Sure.
      9   they were always held, the ones I've been          9           MR. MATHIAS: Okay.
     10   involved with, at the State House block           10           THE VIDEOGRAPHER: So we're
     11   building where we had the capability of           11      going off the record?
     12   doing so.                                         12           MS. YAN: Yes.
     13          And whether that had an                    13           THE VIDEOGRAPHER: Okay. Sure.
     14   involvement in identifying these locations        14      Thank you. The time is approximately
     15   where we were on the road so to speak and         15      1:48. We're going off the record.
     16   going to the backyards of all the four            16      It's the end of media two.
     17   corners of the State and offering people a        17           (Whereupon, an off-the-record
     18   way to come to be face to face as well as         18      discussion was held.)
     19   in the process of offering an opportunity         19           (Whereupon, a recess was taken.)
     20   to provide input virtually at some point          20           THE VIDEOGRAPHER: The time is
     21   in the process -- you know, I can't tell          21      approximately 1:52 p.m. We're back on
     22   you why they -- the -- it was not in every        22      the record. This is the beginning of
     23   location, but I know that there was               23      media unit three.
     24   virtual options offered as well as the            24      Q. Representative Newton, do you
     25   in-person.                                        25   see four new exhibits in Exhibit Share?
                                                                                            25 (Pages 94 - 97)
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                                                   Page 98                                                 Page 100
      1      A. Yeah. 4, 5, 6 -- 5, 6, 7, 8. I                1   don't know that I can tell you when.
      2   do.                                                 2       Q. Does November 10, 2021, sound
      3      Q. Could you please take a look at               3   familiar as a hearing date?
      4   Exhibit 5?                                          4       A. Without having my schedule in
      5      A. Yeah. Okay.                                   5   front of me I know it was sometime late
      6      Q. Do you recognize this document?               6   last fall.
      7      A. I do.                                         7       Q. Okay. Do you recall when the
      8      Q. Do you recall reviewing it at                 8   redistricting committee released its first
      9   some point?                                         9   proposed map?
     10      A. I do.                                        10       A. I do not. In some level of
     11      Q. Okay. That's all and then                    11   proximity to the -- to our committee
     12   Exhibit 6?                                         12   meeting, subcommittee meeting, ad hoc
     13      A. An August 30th letter. Is that               13   committee meeting.
     14   6?                                                 14       Q. I'm sorry. What was that?
     15      Q. Yes.                                         15       A. Well, I've said committee
     16      A. I do.                                        16   meeting and then clarified that we were
     17      Q. Correct. Do you recall                       17   talking about ad hoc committee. It would
     18   receiving this document?                           18   have been in proximity to that, a few days
     19      A. I do.                                        19   before, but whether it was two days or six
     20      Q. Did you review it at some point?             20   days or eight days I don't recall that.
     21      A. I did.                                       21       Q. Who was involved in the
     22      Q. Okay. And Exhibit 7?                         22   development of this proposed map which
     23      A. August -- excuse me.                         23   I'll call the initial House draft plan?
     24   September 27th letter?                             24           MR. MATHIAS: Objection.
     25      Q. Yes.                                         25       A. I mean I'm not -- I don't know
                                                   Page 99                                                 Page 101
      1     A. I recall having seen it and                    1   that I can identify what you're calling
      2   reviewing it at some point and the last             2   the initial House draft plan.
      3   one October the 8th.                                3          You know, obviously in the
      4     Q. Yes, and to clarify that is                    4   preparation of the maps as I mentioned
      5   Exhibit 8?                                          5   individual members looked at their
      6     A. Exhibit 8, correct.                            6   individual district. The ad hoc committee
      7     Q. You recall receiving this                      7   not as a body, but as groups of members of
      8   document?                                           8   that committee looked at regions of the
      9     A. I -- the -- coming to the                      9   State then those region efforts would have
     10   committee, yes, ma'am.                             10   been put together and brought forward
     11     Q. And did you review this                       11   as -- you know, here's this work in
     12   document?                                          12   progress.
     13     A. At the time it would have been                13      Q. So once you received the first
     14   submitted, yes, ma'am, as part of the              14   draft, the work in progress, what was the
     15   process.                                           15   process?
     16     Q. Okay. All right. Thank you.                   16          MR. MATHIAS: Objection.
     17          So now moving on to later on in             17      A. I mean I think we had a
     18   the hearing process. Do you recall when            18   committee meeting looking at what we had.
     19   the first hearing was where the                    19   I mean I can't recall the specifics of
     20   redistricting committee had proposed State         20   amendments at that meeting and then
     21   House maps to consider?                            21   following judiciary, but I mean obviously
     22     A. No. I'm thinking about the                    22   there were amendments and then a product
     23   schedule -- the hearings you just showed           23   approved and recommended by the ad hoc
     24   me a minute ago. It would have been                24   committee.
     25   sometime after that October date, but I            25      Q. So before you shared the initial
                                                                                             26 (Pages 98 - 101)
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                                                Page 102                                                Page 104
      1   -- this initial draft plan pubically when         1   the activity. Those were pieces of the
      2   you had a working draft did you share it          2   mosaic which were put together in the
      3   with anyone else to seek feedback?                3   puzzle and then there were the puzzle
      4           MR. MATHIAS: Objection.                   4   pushed out, however, printed out,
      5      A. I didn't share anything with                5   whatever, for the entire committee who
      6   anybody. I mean it would have been                6   then looked at that and if my recall is
      7   released by the House attendant to our            7   correct made amendments or modifications
      8   schedule process or Judiciary Committee.          8   however procedurally and then made a
      9           Until the ad hoc committee                9   recommendation to the judiciary.
     10   actually met and approved I mean we would        10          So there were -- I mean never
     11   not have had something that would have           11   did the ad hoc committee meet in the map
     12   been -- that we would have said or would         12   room and say let's move this line or that
     13   be described as this is the ad hoc               13   line or this line. That was all
     14   committee's map until the committee itself       14   done -- our meetings were all done as part
     15   actually loaded and approved something to        15   of our published transparent whatever
     16   then -- and amended it or not to go on to        16   televised process.
     17   the full Judiciary Committee.                    17      Q. So as far as the people who did
     18      Q. Okay. So we had previously                 18   work on combining the maps can you provide
     19   discussed the map room and how individual        19   their names?
     20   legislatures drew their own proposed             20          MR. MATHIAS: Objection.
     21   district maps. So after that map room            21      A. Again, I wouldn't know. I mean
     22   process ended what happened next? Who            22   I would think it would have been Thomas
     23   oversaw the process of combining the maps        23   who I was working with. The demographer
     24   or aggregating them?                             24   who Mr. Bamberg and I who at least as
     25      A. I wouldn't know. Not me. I                 25   representatives of that committee worked
                                                Page 103                                                Page 105
      1   mean I would have guessed it would have           1   with. It would have been any other staff
      2   been the chairman of the redistricting            2   that would have been in there and helping
      3   committee and the demographers and counsel        3   work the computer program and legal
      4   of saying -- you know, now we need to             4   counsel. So I mean I -- I mean I could
      5   amalgamate all this discussion and move           5   say all 124, but I mean obviously there
      6   forward with a schedule process to get            6   were 124 or as many as House members
      7   this in front of the committee.                   7   participated, but I know you didn't take
      8      Q. So you mentioned the chairman               8   124 individual maps and they all perfectly
      9   and for the record who is that?                   9   lined up.
     10      A. I'm sorry. The chairman of the             10          So I mean obviously work was
     11   ad hoc committee would have been                 11   broken up done in regions and then those
     12   Mr. Jordan and then the chairman of the          12   regions had to be sort of pushed together
     13   Judiciary Committee is Chris Murphy.             13   and a product printed and produced for the
     14      Q. So you were also a member of the           14   ad hoc committee to take a look at and
     15   ad hoc committee, correct?                       15   then advance a drawing or a map.
     16      A. I was. Yes, ma'am.                         16      Q. So the 124 legislators who came
     17      Q. But you were not involved in the           17   and drew their proposed maps, were they
     18   aggregation process to form the statewide        18   notified about the status of their
     19   map?                                             19   proposed maps?
     20      A. Well, we were -- as I mentioned            20      A. They would have been notified of
     21   earlier Representative Bamberg and I were        21   the process so I mean I don't know that
     22   involved in looking at our area of the           22   they would have received individual
     23   state if you will. That sort of I-95 area        23   communication -- you know, hey, we
     24   mid to low country come up further in, but       24   adjusted Elm Street in your district
     25   no. There were -- we had our input into          25   because again they would have provided
                                                                                         27 (Pages 102 - 105)
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                                                Page 106                                                Page 108
      1   input. That input would have been looked          1   than I think it was the first week of
      2   at in the -- on sort of a regional-type           2   December just because I was absent with
      3   basis then and a statewide basis                  3   illness when it was approved, but I was
      4   production of a map of all 124 to look at,        4   obviously through the ad hoc committee
      5   comment on and ultimately vote on.                5   process and the committee process. So
      6      Q. So what happened to proposed                6   late last fall, October to December is the
      7   maps that were submitted by members of the        7   time frame I think you're talking about
      8   public?                                           8   now.
      9          MR. MATHIAS: Objection.                    9      Q. Are you referring to the time it
     10      Q. Did any of those proposed maps             10   took after the individual legislators drew
     11   by members of the public influence your          11   their proposed maps --
     12   proposed maps?                                   12      A. Yes. General time frame as to
     13      A. The only map I individually                13   when that map room opened and the process
     14   proposed was district 120 -- 120. The            14   started to the point that the Judiciary
     15   proposed maps would have been, I'm               15   Committee had a recommendation for the
     16   assuming, individual members of the ad hoc       16   House.
     17   committee saw those maps, reviewed those         17          So I think your question was do
     18   maps, compared those maps to what was            18   you know how much time there was. I
     19   moving forward through the committee work        19   don't. I don't know whether it was three
     20   process and then ultimately were                 20   weeks or four weeks or two weeks of those
     21   influenced or not a vote of all of the           21   particular. I just -- it was in that
     22   members of the body one way or the other.        22   October/November time frame and the public
     23          So I can't speak to how other             23   hearings had been -- you know the process
     24   people may or may not have used that             24   started in August. Census numbers come
     25   information or reviewed it, but presumably       25   out public hearings and sort of that
                                                Page 107                                                Page 109
      1   they saw it and perhaps looked to see what        1   September/early October time frame map
      2   that did or didn't do relative to what was        2   rooms opened in that area and then final
      3   being proposed by the committee.                  3   approval on the House was I think that
      4      Q. Thank you.                                  4   first week of December.
      5      A. I mean we had some level of                 5      Q. So after the individual
      6   discussion at the committee about some of         6   districts were combined into a statewide
      7   those maps and had -- and we talked               7   draft map and sent to the ad hoc
      8   through some comparisons about some of            8   redistricting committee how long did it
      9   those proposals had fewer minority                9   take for you to assess this map before
     10   majority districts than others. I can't          10   presenting it pubically?
     11   recall at which one of those public              11          MR. MATHIAS: Objection.
     12   meetings that the ad hoc committee had,          12      A. I don't -- I'm not sure that I
     13   but we had a level of discussion of              13   know what that time frame is. That
     14   comparisons of what those proposals looked       14   map -- my recall is that map was released
     15   like versus what was -- we were working on       15   to everybody as part of the meeting
     16   and was moving through the process.              16   notification and then we had the meeting
     17      Q. So going back to the process of            17   sometime thereafter that, a handful of
     18   putting the maps together, how long did          18   days perhaps.
     19   this take?                                       19      Q. Okay. I think would it work to
     20      A. You know, I think we've honed in           20   take a short break and we can go off the
     21   on one of the -- it was early October when       21   record to discuss this?
     22   the process or late September spot, the          22          THE VIDEOGRAPHER: Okay.
     23   map room opened. I'm not even sure I can         23      Without objection we're going off the
     24   tell you the day when this thing was             24      record at 2:10 p.m.
     25   finally approved on the House floor other        25          (Whereupon, an off-the-record
                                                                                         28 (Pages 106 - 109)
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                                               Page 110                                              Page 112
      1      discussion was held.)                         1   were there to talk about and look at
      2          (Whereupon, a recess was taken.)          2   regional approaches. Individuals could
      3          THE VIDEOGRAPHER: And the time            3   have offered adjustments, modifications to
      4      is approximately 2:27 p.m. We're back         4   their maps or to the extent they were
      5      on the record.                                5   there. As I mentioned I think the
      6          MS. YAN: Thank you.                       6   Greenville delegation or multiple members
      7      Q. So Representative Newton, we               7   of the Greenville delegation came in
      8   spoke about the map room process and how         8   together so they could have talked to
      9   individual legislators propose their             9   Thomas and others about their lines and
     10   districts. To the extent there were             10   how that looked, but they would not have
     11   disagreements would legislators                 11   been there to talk about lines beyond the
     12   communicate with each other about their         12   districts that they themselves would have
     13   disagreements?                                  13   been involved with.
     14          MR. MATHIAS: Objection.                  14      Q. And did you speak much with
     15      A. I assume so. I mean obviously             15   Thomas Hauger?
     16   there were individual House members who         16      A. I mean just during those
     17   came to the hearing process and the             17   occasions when I was in the map room.
     18   committee process and who may have voiced       18      Q. To the extent that legislators
     19   their concerns or objections to members of      19   might have input to provide to Thomas
     20   the Judiciary Committee or the ad hoc or        20   Hauger or other map drawers was there a
     21   presumably at the House. I wouldn't know        21   process or how to communicate with the map
     22   the day it was finally approved.                22   drawers?
     23      Q. And would any -- would                    23      A. I'm assuming in their individual
     24   legislators be able to make one-on-one          24   sessions when members of the legislature
     25   deals with each other regarding disputes        25   went in to look at their lines, new
                                               Page 111                                              Page 113
      1   for districts?                                   1   numbers, what they thought could be
      2          MR. MATHIAS: Objection.                   2   adjusted or modified with Thomas that
      3      A. I don't know necessarily what              3   would have been their methodology of
      4   a -- I mean if members of a delegation           4   communicating. I mean I'm unaware of any
      5   went in together whether it was two              5   other way they would have perhaps
      6   members or four members or six members and       6   communicated.
      7   were looking at lines that affected both         7      Q. So these would have been
      8   of them I suspect I mean they would have         8   in-person meetings with Thomas or other
      9   suggested as part of their suggestions to        9   map drawers?
     10   the process that would be what the lines        10      A. Yeah, I was a member of the
     11   look like.                                      11   committee and was not made aware if there
     12          Now, was that what was finally           12   was another way to communicate with him.
     13   approved. Did it have some level of             13   My communications were when I was in the
     14   potential adjust, it may have. So I don't       14   map room so I'm assuming that's the same
     15   know that outside of the formal process of      15   for everybody. Certainly everybody else
     16   the committee being involved that any two       16   on the committee and I know that the
     17   members could have gone in together and         17   process was opened to the individual
     18   said let's you and I just decide to do X,       18   members to come in and meet as well.
     19   Y and Z without it being part of the            19      Q. Thank you. So I'll direct you
     20   overall process.                                20   now to another exhibit. Can you let me
     21      Q. Would legislators have been able          21   know if you see Exhibit 9 marked?
     22   to speak with map drawers such as Thomas        22      A. Garber Court Reporting?
     23   Hauger about their ideas for how to             23      Q. Yes. That's correct?
     24   aggregate districts?                            24      A. Okay. November 10th ad hoc
     25      A. The members of the committee              25   committee. Okay.
                                                                                       29 (Pages 110 - 113)
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                                                  Page 114                                                 Page 116
      1      Q. Yes. Do you recognize this                    1   the matter. Thank you.
      2   document?                                           2      Q. Thank you. And Representative
      3      A. I've never seen it before, but I              3   Newton, do you know what Representative
      4   mean I can tell you what the title says.            4   King is referring to when he discusses
      5      Q. Well, I will represent that I                 5   combined or collapsed districts?
      6   got this document from the South Carolina           6      A. I understand the concept.
      7   legislature's page with transcript from             7   Without reading this whole transcript I
      8   the ad hoc committee meeting.                       8   wouldn't be able to identify what
      9      A. Okay.                                         9   districts you're talking about.
     10      Q. So again the date is                         10      Q. Okay. Well, let me direct you
     11   November 10, 2021. Were you at this                11   then to page 152 and just let me know when
     12   meeting?                                           12   you've gotten there.
     13      A. I think I was, yeah.                         13      A. Sorry. I'm getting there.
     14      Q. If I could direct you to page                14      Q. No problem.
     15   23. Let me know when you're there.                 15      A. Okay. 152.
     16      A. Okay. I'm at 23.                             16      Q. Great. So this -- if you scroll
     17      Q. So you've previously referred to             17   up a few pages you'll see that this is
     18   the maps from the previous round of                18   Representative Govan speaking.
     19   redistricting which were pre-cleared under         19      A. Okay.
     20   the Voting Rights Act; is that correct?            20      Q. So here and -- okay. Beginning
     21      A. Yes, ma'am. And they were the                21   at the bottom of page 152.
     22   subject of three or four lawsuits. So              22      A. Okay.
     23   they were challenged and upheld.                   23      Q. He -- I guess could you please
     24      Q. So do you see on this page                   24   read into the record beginning -- well,
     25   Representative King where he begins                25   beginning at line 14 on page 152 and then
                                                  Page 115                                                 Page 117
      1   speaking?                                           1   down to line 15 of the next page so about
      2      A. I do.                                         2   one page?
      3      Q. Could you please read his                     3      A. So it was really with very deep
      4   portion into the record?                            4   concern and regret in which we found this
      5      A. On page 23. I appreciate you                  5   out that this district which existed along
      6   all accepting my testimony. I previously            6   the original districts that were created
      7   submitted these statements and I would              7   the first that provided for the first
      8   like to resubmit these statements back to           8   African Americans to be elected to the
      9   you all and my other concern is as we have          9   South Carolina general assembly since
     10   collapsed some four or five districts and          10   reconstruction in terms of single member
     11   you stated earlier in your written                 11   district lines.
     12   statement that you read that we had a              12          There were a couple of people
     13   blueprint to go by. The blueprint                  13   that were elected in '72 that this map
     14   safeguarded our minority districts and in          14   basically eliminated one of the original
     15   this map that you all have done that will          15   districts. So with all due respect -- you
     16   be submitted to the full committee has             16   know, I think that Representative Newton
     17   collapsed a few minority districts or              17   my good friend alluded to earlier when he
     18   combined those districts.                          18   was addressing a question by one of the
     19          And so I would hope you all                 19   presenters here was talking about the
     20   would look at if that blueprint that you           20   draft that y'all had put on the table
     21   spoke of earlier had we still had to go            21   basically was approved under the most
     22   through pre-clearance those districts              22   rigorous pass of criteria, et cetera, and
     23   would not have been combined or collapsed          23   guidelines.
     24   and so I would like for you all to take            24          I was just taken aback by the
     25   that into consideration as you finalize            25   fact that a district that was created and
                                                                                           30 (Pages 114 - 117)
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                                                   Page 118                                                 Page 120
      1   has been in existence since 1974 was                 1           So Representative Newton, if I
      2   completely removed off the map and                   2   can direct you back now to the bottom of
      3   assigned to the Mount Pleasant Charleston            3   page 23 again.
      4   area of the State as South Carolina -- or            4      A. Yes, unfortunately I got scroll
      5   the State of South Carolina and that it              5   all the way back through. There's no way
      6   had been divided as community of interest            6   to get directly to it.
      7   had been divided amongst three rural                 7      Q. Sorry about that.
      8   areas, actually four rural areas and that            8      A. No, that's all right. All
      9   Orangeburg County had been split up like a           9   right. Go ahead. I'm there now.
     10   pie.                                                10      Q. So you see your name at the
     11      Q. Thank you, Representative                     11   bottom of that page?
     12   Newton. Does this help refresh your                 12      A. I do.
     13   recollection about the collapsed districts          13      Q. And you -- going to the next
     14   that you referred to?                               14   page you are talking about majority
     15      A. So in the area of the State                   15   minority districts; is that correct?
     16   you're talking about was the Orangeburg             16      A. Yes, ma'am.
     17   area in general, correct?                           17      Q. So I guess what is your
     18      Q. So that's one of them, but does               18   understanding of the term majority
     19   it sound familiar that the other districts          19   minority district?
     20   you're talking about that was moved to the          20      A. That minority majority district
     21   Charleston area that that was in Richland           21   or majority minority district or however
     22   in the last cycle?                                  22   you want to say them. The language here
     23      A. Yeah, I mean I thought what he                23   talks about minority majority district and
     24   was talking about here was the Orangeburg           24   it means the majority of the population
     25   area, but I understand the context now              25   is -- are a minority. So that in essence
                                                   Page 119                                                 Page 121
      1   that we're talking about so tell me what             1   a minority member can be elected with a
      2   the question is.                                     2   majority of that population in that
      3       Q. So the question is: If you                    3   district.
      4   refer to these previous maps being upheld            4       Q. And do you know is this a term
      5   or pre-cleared wouldn't the -- wouldn't              5   that comes up in the context of section
      6   the collapse of a district or the complete           6   two of the Voting Rights Act?
      7   moving of a district to a completely                 7       A. I don't know where the specific
      8   different area of the State significantly            8   legal reference from the term comes from.
      9   change that map?                                     9   It's a term that I have been familiar with
     10       A. Well, obviously -- I mean any                10   since my first exposure to any
     11   adjustment in the lines change the map,             11   redistricting reapportionment and the
     12   but if the population isn't there                   12   whole notion that we talked about earlier
     13   to -- because of growth to support an               13   today of retrogression and natural
     14   equal size district it doesn't matter what          14   retrogression and intentional
     15   the previous map looked like. You don't             15   retrogression.
     16   have enough numbers.                                16       Q. I guess coming back to section
     17           I mean if your population has               17   two of the Voting Rights Act are you
     18   shifted in this state which it has and is           18   familiar with it?
     19   continuing to do along the coast at 41,000          19       A. I'm certainly not an expert, no.
     20   some odd you may have had enough                    20       Q. Isn't that when you talk about
     21   population to have four districts ten               21   retrogression?
     22   years ago, but not enough to have four              22       A. Yeah, I'm just -- I'm not going
     23   today.                                              23   to hold myself out as an expert of the
     24       Q. And just to confirm -- well, no.             24   law. I mean generally under the concepts
     25   I'll withdraw that.                                 25   of criteria we looked at this morning
                                                                                             31 (Pages 118 - 121)
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                                                   Page 122                                               Page 124
      1   intentionally diluting a minority's                  1   there is an intentional effort to dilute
      2   representation is inappropriate and                  2   that ability of having a minority majority
      3   illegal whether it's a precise provision             3   district that that's against the law and
      4   of section two of the Voting Rights Act,             4   we may not be in the pre-clearance
      5   but, yes.                                            5   requirements anymore, but I'm comfortable
      6      Q. So do you know if the Voting                   6   that if in the process of drawing these
      7   Rights Act imposes any requirements                  7   lines we had intentionally said well,
      8   regarding any drawing of majority and                8   we're not going to do that because of that
      9   minority districts?                                  9   racial community then the challenge would
     10          MR. MATHIAS: Objection.                      10   look a lot different than it is today and
     11      A. I don't know if it imposes any                11   that's why I say it's not a color blind
     12   specific requirements, no, but I know that          12   process.
     13   if you -- I'm comfortable that if we drew           13           I think one our responsibilities
     14   districts intended purely to dilute that            14   I think the law requires that we are to
     15   population as opposed to natural                    15   try to the greatest extent we can to
     16   population shifts that that is against the          16   protect those minority majority districts.
     17   law.                                                17           I mean I don't think anybody has
     18      Q. So and going back to the                      18   suggested that intentional retrogression
     19   redistricting guidelines that we had                19   is now okay regardless of what has
     20   looked at, one of the criterion is to               20   happened with pre-clearance.
     21   comply with federal law including the               21      Q. So you've listed an instance of
     22   Voting Rights Act, correct?                         22   intentional retrogression that would be a
     23      A. Yes, ma'am.                                   23   violation of the Voting Rights Act, but
     24      Q. So how do you as the legislature              24   beyond that how do you assess whether you
     25   conduct an assessment of whether you are            25   are affirmatively complying with the
                                                   Page 123                                               Page 125
      1   complying with the Voting Rights Act?                1   Voting Rights Act?
      2      A. One, we rely on the input of                   2          MR. MATHIAS: Objection.
      3   counsel to us as we're doing that, but I'm           3       A. Try to develop the maps in
      4   confident that we all could agree that if            4   accordance with the guidelines
      5   we took the district from the last go                5   with -- based on the new change and
      6   around and intentionally diluted the                 6   population numbers that have existed. You
      7   minority participation and representation            7   know, I've mentioned earlier and we've
      8   in each of those districts that is against           8   discussed we deferred to the lines that
      9   the law. And so to as much as we might               9   previously had been approved to the extent
     10   like it to be this is not a color blind             10   that they were still there.
     11   process.                                            11       Q. Representative Newton, are you
     12           So protecting the minority                  12   familiar with the term effective minority
     13   communities and their ability to elect a            13   opportunity districts?
     14   person of their choosing, one of their              14       A. I am. I don't think that's
     15   peers, to office is one of the                      15   minority majority, but it's getting close
     16   requirements I believe of the                       16   to that level.
     17   reapportionment and redistricting process           17       Q. Could you elaborate on your
     18   and the law.                                        18   understanding of what an opportunity
     19      Q. So is your understanding that                 19   district would be?
     20   compliance with the Voting Rights Act               20       A. While it may not be a majority
     21   focuses solely on intent?                           21   of the minority population in that
     22      A. No, ma'am.                                    22   district there would still be an
     23      Q. Does it look at anything else?                23   opportunity for a minority to get elected.
     24      A. Yeah. But I also believe that                 24   It's not -- the district is so not
     25   if there is -- if there is an effort -- if          25   lopsided in one way or the other that it
                                                                                            32 (Pages 122 - 125)
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                                                   Page 126                                                Page 128
      1   would be impossible or unlikely for a                1      A. No.
      2   minority to get elected in that particular           2      Q. Did you review data on crossover
      3   district.                                            3   voting --
      4      Q. And in South Carolina in these                 4      A. No.
      5   districts do you know what that level                5      Q. -- between -- okay.
      6   would be -- well, I'll rephrase. Does a              6      A. Population information and from
      7   House district need to be drawn at a                 7   the census is the only information.
      8   certain black voting age population                  8      Q. So -- but to clarify, so did you
      9   percentage for voters to be able to elect            9   review any statewide and county level
     10   a candidate of their choice?                        10   voting patterns?
     11          MR. MATHIAS: Objection.                      11      A. No.
     12      A. No, not necessarily. I mean I                 12      Q. Did you conduct any performance
     13   think -- obviously it's -- the ideal                13   analyses of how districts would perform
     14   district is 41,278 and both of those terms          14   for minority voters?
     15   have a meaning that can be applied with             15      A. I'm not even sure I know what
     16   that population.                                    16   that term -- what that would mean, but,
     17      Q. And just to clarify, so with                  17   no.
     18   black voting age population I'm talking             18      Q. Well, to clarify what I meant
     19   about what percent of the overall voting            19   there is performance in that -- the
     20   age population is black? So did you --              20   district would allow the voters to elect a
     21      A. Well, obviously majority                      21   candidate of their choice?
     22   minority of BVAP is what you're talking             22      A. No. My analysis as a member of
     23   about would be more than 50 percent.                23   the committee was based on the population
     24      Q. Have you conducted any                        24   information that was through the census
     25   assessments of what BVAP percentage in              25   bureau provided to us as it related to the
                                                   Page 127                                                Page 129
      1   South Carolina would lead to -- would be             1   districts and the population increases in
      2   considered an opportunity district?                  2   South Carolina.
      3          MR. MATHIAS: Objection.                       3      Q. Okay. And are you familiar with
      4      A. Not -- I've not done any                       4   the term racially polarized voting?
      5   independent research, no. Obviously in               5      A. Generally yes, ma'am.
      6   the course of developing our district                6      Q. What does it mean?
      7   those demographic numbers correspond to              7      A. Well, I mean polarizing
      8   the lines and the district map.                      8   obviously is two different extremes and
      9      Q. Okay.                                          9   racial polarizing I would generally
     10      A. I mean if you're asking me is an              10   understand to be just that.
     11   opportunity district less than 50, but              11      Q. For whom?
     12   more than 35 I don't know that -- if there          12      A. Well, depending on the context
     13   is a mathematical percentage assigned to            13   that it was used in.
     14   that, but obviously it's something perhaps          14      Q. So did you ever hear from the
     15   less than 50, but more than 25 or                   15   public or advocates about the need to
     16   30 percent. Maybe it would be as high as            16   conduct a racialized -- a racially
     17   40 or 45 percent.                                   17   polarized voting analysis?
     18      Q. So to figure this out did you                 18      A. I can't recall if it was that
     19   review any data, did you review voter               19   specific analysis. There were certainly
     20   participation rates for example.                    20   those folks that we would hear from from
     21      A. No. Not voter participation                   21   time to time that would suggest we needed
     22   rates.                                              22   more information to do more relative to
     23      Q. Did you review data about                     23   the process. At the same time we were
     24   cohesion among different racial groups of           24   being told to hurry up and get the process
     25   voters?                                             25   completed by others -- you know, obviously
                                                                                            33 (Pages 126 - 129)
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                                                   Page 130                                               Page 132
      1   getting the census data late put us in a             1   blind.
      2   position where we were -- we couldn't do             2          Obviously and that ties to the
      3   it fast enough and if we were doing it at            3   concept of I think intentional
      4   the pace in which we were doing others               4   retrogression. You know, we went back in
      5   criticized us for doing it too fast and              5   my experience as chairman of County
      6   not getting it done. So I'm familiar with            6   Counsel. I mean we went from a point in
      7   the term, but we did not do that.                    7   time where the demographics in Buford
      8       Q. So just to clarify for the                    8   County changed dramatically in terms of
      9   record, did you not conduct any racially             9   the minority representation on the 11
     10   polarized voting analyses?                          10   single members districts on County Counsel
     11       A. I did not and I'm unfamiliar                 11   purely because the population was growing
     12   that the ad hoc committee did any sort of           12   with folks moving here from elsewhere and
     13   that activity as well.                              13   so that's an issue that during my tenure
     14       Q. You mentioned earlier that                   14   in public office I'm mindful of and I
     15   because of the Voting Rights Act the                15   think as a requirement as to part of the
     16   redistricting process is not a color blind          16   process.
     17   process; is that correct?                           17          So -- you know, there's probably
     18       A. Yes, ma'am.                                  18   a fancier term you can put on it, but in
     19       Q. So if you were not -- if you did             19   simple terms saying it's not color blind
     20   not do any racially polarized voting                20   ties directly to the notion of intentional
     21   analyses and just looked at previous                21   retrogression, but in drawing these
     22   district lines, population changes                  22   districts we've got to be mindful on
     23   how -- what do you mean when you say it             23   what's happening to those minority
     24   was not color blind --                              24   districts because I know that if we were
     25       A. Obviously the census data gives              25   not mindful of that and the result was the
                                                   Page 131                                               Page 133
      1   us racial information, right? I mean we              1   population could have gone to this
      2   talked about BVAP. We talked about                   2   district and it would not have made an
      3   population. I mean that's the information            3   impact in what was not a minority majority
      4   that comes from the census data.                     4   district, but instead we put in the
      5      Q. Right. So how did you use that                 5   minority majority district for purpose of
      6   then if it was not a color blind process?            6   diluting that so that it was no longer a
      7      A. Obviously in drawing my district               7   minority majority district that that is
      8   in looking at the growth that I had in my            8   inappropriate and illegal.
      9   district and knowing that I needed to shed           9      Q. Thank you, Representative
     10   people if you will or change the lines,             10   Newton. So you mentioned that you
     11   excuse me, district 120, my district, I             11   do -- you had considered BVAP in terms of
     12   was mindful of what those modifications             12   what that would look like and please
     13   looked like to minority representatives             13   correct me if I'm misstating, but in other
     14   that were adjacent to my district lines.            14   districts or in your district and the
     15           If that population was moved to             15   black population numbers; is that correct?
     16   the district that is currently                      16      A. It is, yeah.
     17   Representative Shedron Williams or was              17      Q. But if you did not conduct any
     18   Representative Michael Rivers versus                18   kind of racialized -- racially, excuse me,
     19   representative Shannon Erickson what that           19   polarized voting analyses or performance
     20   was doing to their population numbers. So           20   analyses how did you know what numbers of
     21   I was mindful of the diluted effect that            21   black voters? Like what was an
     22   it may have on their African American               22   appropriate number?
     23   minority population on those two gentlemen          23      A. Again we're looking at census
     24   that I just spoke of district. So that's            24   numbers and the black voting age
     25   what I mean in terms of not being color             25   population numbers. So I mean I
                                                                                           34 (Pages 130 - 133)
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                                                  Page 134                                              Page 136
      1   understand your suggestion. We didn't do            1   be collapsed.
      2   that kind of analysis. We used the data             2      Q. So how did you consider the
      3   from the census which is the same                   3   racial make up of those districts that
      4   information in the redistricting processes          4   could have been collapsed?
      5   that I've been through both at the county           5      A. I mean obviously looking at the
      6   level that which the State -- I mean and            6   minority majority numbers that were in
      7   that -- on those two cycles my experience           7   those areas and the population, but I mean
      8   now in the House of Representatives and             8   just quite simply we discussed the
      9   there was none of that kind of analysis             9   population numbers of where we were in
     10   conducted by the court when as an early            10   those districts in the old lines, what
     11   member of the House Jasper County had              11   they looked like and quite frankly the
     12   never redistricted the school. I mean              12   optics of what particular collapses would
     13   there was no suggestion that the court who         13   look like.
     14   then redrew the districts was conducting           14          For instance, Mr. Hosie is one
     15   something other than the use of the census         15   of the African American members of the
     16   data in drawing and establishing the lines         16   general assembly, a highly decorated
     17   for the school districts in Jasper County.         17   veteran. I mean when you look at that
     18          So I understand that that                   18   area there were no good solutions because
     19   information might be useful, but it's not          19   of the population growth being elsewhere
     20   information that I've been exposed to              20   and -- you know, Representative Govan and
     21   during the -- my involvement with                  21   Representative Cobb-Hunter are two of some
     22   redistricting and reapportionment.                 22   of the longest serving African Americans
     23      Q. Understood. Thank you. Did you               23   in the House.
     24   or the legislature reach out to any black          24          It was described and sort of
     25   or other minority groups to get more input         25   talked about and you could see that Justin
                                                  Page 135                                              Page 137
      1   as to whether -- I guess as to what would           1   toiled over. He would leave the map room
      2   dilute their vote?                                  2   and get his phone and go call members from
      3      A. Obviously I can't speak to what               3   the House from that area and come back in
      4   123 other people may or may not have done.          4   and work more on the maps and leave and
      5   I'm not aware of any organized effort from          5   come back and I mean he was trying to find
      6   the committee that only went to one                 6   the best solution of a problem that didn't
      7   particular segment or group of the                  7   have any great solutions because of where
      8   population versus others. Obviously the             8   it was in the State and because of the
      9   public hearings were notified and                   9   lack of population growth.
     10   announced for everybody to participate --          10      Q. Okay. Thank you, Representative
     11   you know, in the challenges that existed           11   Newton. Sort of a general question, would
     12   in the Orangeburg area. Obviously I was            12   you agree that assessing compliance with
     13   with Representative Bamberg and in -- you          13   the Voting Rights Act involves a fact
     14   know, we were talking about those                  14   intensive analysis?
     15   districts being one of the areas where             15          MR. MATHIAS: Objection.
     16   there was a collapse earlier -- you know,          16      A. I'm not sure again what's
     17   obviously I sought his guidance and                17   necessarily meant by fact intensive
     18   thoughts as being the representative in            18   analysis. You know, I can look back to my
     19   that area and quite frankly I watched him          19   experience dating back to the over
     20   labor significantly over what the                  20   20 years in reapportionment redistricting
     21   population numbers dictated and how                21   processes both by the legislative branch
     22   he -- and what those collapses would look          22   at the local level at the State level, but
     23   like including the racial -- the race of           23   also by the judicial branch and the
     24   those individuals that would be in those           24   information that was available to the
     25   districts that could have been combined to         25   judicial branch is no different than the
                                                                                          35 (Pages 134 - 137)
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                                                  Page 138                                               Page 140
      1   information that was utilized and used in           1   it the House map that ultimately came
      2   the processes that I've been involved with          2   forward and was approved?
      3   which is the census data information.               3       Q. Yes.
      4          So -- you know, probably in a                4       A. Okay. So am I familiar with the
      5   perfect world more information can always           5   map that was ultimately approved, I am.
      6   help do certain things, but that also begs          6   I'm familiar. That was what we
      7   the question of luxury of time and                  7   recommended out of judiciary. As I
      8   again -- you know, you can probably always          8   mentioned I was not at -- in the House of
      9   use more information. The information               9   Representatives when it was voted on
     10   that I've been involved with is from the           10   finally in the House floor. I had just
     11   census data and quite frankly if it was            11   been discharged or was being discharged
     12   deficient information with or without              12   from the hospital that day for an accident
     13   pre-clearance still being required I would         13   that -- a choking incident that I was
     14   have thought that the federal district             14   involved with a few days prior so I was
     15   court when they drew the lines for the             15   not in the House chamber when that HB
     16   Jasper County schools would have said that         16   whatever the redistricting map that was
     17   information is lacking and that kind of            17   finally approved was adopted.
     18   analysis must be conducted in order for us         18       Q. Understood and sorry to hear
     19   to move forward with drawing these lines.          19   about your choking incident and glad to
     20      Q. Are you referring to the                     20   see that you're doing well.
     21   pre-clearance process?                             21       A. Thank you.
     22      A. The voting analysis data that                22       Q. So for the -- I guess to the
     23   you're talking about is what I'm referring         23   extent that you know having not been there
     24   to.                                                24   for the whole process do you know if there
     25          Your question ultimately was do             25   were proposed amendments to the initial
                                                  Page 139                                               Page 141
      1   I think it's a fact intensive process and           1   draft plan?
      2   my response to you is, yes, the                     2      A. On the House floor? I mean
      3   information that I have been exposed to is          3   there were amendments obviously in the
      4   census data information. You can always             4   committee subcommittee process.
      5   get more analysis or more data of some              5      Q. Yes. Yes. But on the House
      6   kind. I would never say that that's not a           6   floor?
      7   good thing. I just don't know that that             7      A. I don't. I tried to cut it on
      8   information is necessarily required in              8   on the radio and my wife would not allow
      9   this process and certainly from my history          9   it. I mean I had heard that there were
     10   and involvement in reapportionment and             10   amendments that were attempted or offered
     11   redistricting including the exposure to            11   I think that there may have been some
     12   the federal district court drawing lines           12   minor adjustments that were made, but I
     13   none of that type information was involved         13   did not try to go back and analyze those
     14   in those previous activities.                      14   in any sort of detail.
     15      Q. Okay. Thank you, Representative              15      Q. Understood. So going back to
     16   Newton. So just a few more questions.              16   when the draft maps were still in the
     17          So I guess going back to the                17   committee you mentioned there were
     18   proposed maps and just to clarify, are you         18   amendments offered then?
     19   familiar with HB4493?                              19      A. To my recall, yes, but I don't
     20      A. That number doesn't mean                     20   know that I can give you any of the
     21   anything to me unfortunately. If you tell          21   specifics about that.
     22   me what it is I'll respond.                        22      Q. Do you remember generally what
     23      Q. Does it sound like it could be               23   kind of research went into coming up with
     24   the --                                             24   these proposed amendments?
     25      A. It's a House Bill number, but is             25      A. Without looking at the documents
                                                                                           36 (Pages 138 - 141)
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      1   in front of me without looking at the              1 the record. This is the beginning of
      2   potential amendments, no. I don't -- I             2 media four.
      3   wouldn't be able to answer that, no.               3       MS. YAN: So no further
      4      Q. Did you offer any amendments?                4 questions from me at the moment. I
      5      A. I don't think so. You know, I                5 just want to note for the record that
      6   have no recall of offering one, but if you         6 we would like to reserve the right to
      7   told me hey, by the way you offered a              7 potentially hold open the deposition
      8   technical amendment that did X, Y and Z I          8 pending some potential
      9   wouldn't disagree with you, but I don't            9 productions -- forthcoming
     10   believe I did. No, ma'am.                         10 productions, discovery orders so just
     11      Q. And I guess during this process             11 noting that for the record. Thank
     12   in committee offering amendments before           12 you.
     13   bringing the map to the House floor was           13       MR. MATHIAS: Thank you,
     14   anyone else consulted regarding the               14 Patricia. Andrew Mathias on behalf of
     15   amendments other than the legislators?            15 the House defendants. At this time we
     16      A. Not that I'm aware of. Now --               16 don't agree that the deposition will
     17   you know, obviously counsel both for the          17 be reopened, but obviously changes in
     18   committee and outside counsel were                18 circumstance that you've described
     19   involved in discussions about the process         19 we'll address those issues when they
     20   and the way that these amendments, the            20 arise.
     21   effect of what these amendments may have.         21 EXAMINATION
     22      Q. But no one else?                            22 BY MR. MATHIAS:
     23      A. Not to my knowledge. I                      23 Q. Mr. Newton, is your job as a
     24   certainly didn't, but not to my knowledge.        24 representative a part-time job?
     25      Q. Was this a process? Was it a                25 A. It is.
                                                 Page 143                                              Page 145
      1   back and forth process with the                    1       Q. And you have another full-time
      2   demographers?                                      2   job; is that right?
      3      A. Well, I mean I had three or four             3       A. I do, yes.
      4   sessions in the map room. That was the             4       Q. Notwithstanding the fact that
      5   extent of my interaction with him.                 5   this is a part-time job have you ever
      6      Q. Did the demographers attend any              6   looked at how much you would -- how much
      7   of the meetings of the committee?                  7   you get paid per hour as a Representative?
      8      A. I don't believe so. I mean they              8       A. I would be afraid to do so and
      9   could have been back somewhere in the              9   what my wife might say.
     10   audience, but, no. Not to my knowledge.           10       Q. Okay. And so as a part-time
     11      Q. I think that may be about it for            11   Representative in South Carolina you -- is
     12   me sorry. If you could just give me one           12   it true that you rely upon committee and
     13   moment.                                           13   House staff to do certain work on your
     14      A. Sure.                                       14   behalf and give you guidance?
     15          THE VIDEOGRAPHER: You want to              15       A. Absolutely.
     16      go off the record?                             16       Q. Is it true that they most likely
     17          MS. YAN: Yes, that would be                17   if not certainly do work and analysis to
     18      great. Thank you.                              18   support you in your job that you are
     19          THE VIDEOGRAPHER: Okay. Thanks             19   unaware of?
     20      everyone. The time is 3:18. We're              20       A. Of course, yes.
     21      going off the record.                          21       Q. So just because you didn't
     22          (Whereupon, an off-the-record              22   conduct certain analysis does not mean
     23      discussion was held.)                          23   that that analysis was not conducted?
     24          THE VIDEOGRAPHER: The time is              24       A. That's correct.
     25      approximately 3:19 p.m. We're back on          25       Q. In the redistricting process you
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      1   mentioned a map room and how there were            1   someone tell you Mr. Newton, this is the
      2   other people in there. You noted that I            2   new district 120, right?
      3   guess the suggestion there were interns            3      A. No. Absolutely not.
      4   in -- working in that room you did not             4      Q. Are you aware of the fact that
      5   think that was true.                               5   the NAACP has not brought a Voting Rights
      6      A. I mean there were people in                  6   Act in section two challenge?
      7   there that I did not recognize. Quite              7      A. I'm not familiar enough with the
      8   frankly I thought that they were folks             8   pleadings to be able to give any level of
      9   that worked with outside counsel. So I             9   analysis like that. I mean I quite
     10   recognize the Judiciary Committee lawyers         10   frankly didn't pay attention to what the
     11   that were in there, I recognize the staff         11   various causes of action are.
     12   person Thomas that was working with me,           12      Q. Are you aware that the crux of
     13   there were some other faces in there, but         13   the plaintiff's complaint is an allegation
     14   I didn't ask who are you. I believe that          14   of intentional racial discrimination?
     15   they were outside counsel clerks.                 15           MS. YAN: Objection.
     16      Q. But if I or someone else were to            16      A. I would -- am I aware of that?
     17   tell you that they were in fact                   17   I have not studied the pleadings so I'm
     18   temporarily hired interns would that              18   not sure that I would say that I have a
     19   surprise you --                                   19   high level of awareness of the particular
     20      A. No, it wouldn't surprise me. If             20   challenges that have been raised or
     21   they were folks that worked for the               21   specifically identified challenges to our
     22   Judiciary Committee or worked for outside         22   process, but that does not -- I mean
     23   counsel that wouldn't surprise me.                23   that's in keeping with my general
     24      Q. Okay. And the individuals who               24   understanding.
     25   the members sat down at the computer who          25      Q. Okay. In the redistricting
                                                 Page 147                                               Page 149
      1   made changes to the maps was that more of          1   process did you engage in any intentional
      2   a functionary role or was that a decision          2   racial discrimination?
      3   making role?                                       3       A. Absolutely not.
      4      A. Functionary. I mean they didn't              4       Q. Are you aware of anyone else on
      5   make any adjustments in drawing that we            5   the ad hoc committee that engaged in
      6   didn't ask them to. I mean they would --           6   intentional racial discrimination?
      7   you know, that program as you move the             7       A. Absolutely not and I would be
      8   mouse and the cursor it moves the lines            8   shocked if any member of the committee
      9   and then moves all the charts and then you         9   believed otherwise. I mean -- you know,
     10   follow the census block and say, okay.            10   there were some during the public hearing
     11   Let's go over there and see what that             11   process that suggested a level of
     12   census block. And there's interaction             12   criticism that was not supported by any of
     13   back and forth.                                   13   the facts or any of the discussion and it
     14          I mean they would say well --              14   was noted by essentially all of us on that
     15   you know, if you look that census block           15   committee.
     16   has 800 people in it and if you're trying         16       Q. And final question, had you
     17   to shed to get to an ideal number that's          17   observed any intentional racial
     18   probably a larger one that you might be           18   discrimination would you have tolerated
     19   able to leave out and let's see what              19   it?
     20   happens when you move it over in that             20       A. No.
     21   district or let's see what happens when           21           MR. MATHIAS: That's all I got.
     22   you move it over in that district so              22           MR. TRAYWICK: Representative
     23   you're interactive as you're moving the           23       Newton, my name is Lisle Traywick and
     24   line and the numbers.                             24       I'm representing Senate defendants. I
     25      Q. You did not walk in and have                25       just wanted to thank you for your time
                                                                                          38 (Pages 146 - 149)
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                                                Page 150                                                 Page 152
      1     today. I don't have any questions for           1      Q. Okay. All right. Thank you
      2     you.                                            2   very much, Representative Newton. That's
      3          THE WITNESS: Thank you.                    3   all from me.
      4          THE VIDEOGRAPHER: Okay. Does               4          MR. MATHIAS: One final
      5     anybody else?                                   5      question.
      6          MS. TRINKLEY: Jane Trinkley on             6   EXAMINATION
      7     behalf of the election commission. We           7   BY MR. MATHIAS:
      8     have no questions. Thank you,                   8      Q. Did you order anyone not to
      9     Representative Newton.                          9   conduct certain analysis?
     10          MS. YAN: Representative Newton,           10      A. Absolutely not.
     11     if I can just ask a couple quick               11      Q. Thank you.
     12     follow-up questions relating to what           12          THE VIDEOGRAPHER: All right.
     13     you just said?                                 13      Thanks everyone. May I close out the
     14          THE WITNESS: Sure.                        14      deposition for today or does anybody
     15   EXAMINATION                                      15      else have any questions?
     16   BY MS. YAN:                                      16          All right without objection
     17     Q. So you mentioned that it's                  17      we're going off the record at
     18   possible that there was analysis conducted       18      3:29 p.m. and this concludes today's
     19   that you just didn't know about; is that         19      testimony given by Wiilliam Weston J.
     20   correct?                                         20      Newton. The total number of media
     21     A. Sure. Absolutely. I mean the                21      units used was three, excuse me, four
     22   lawyers could have conducted some level of       22      and will be retained by Veritext New
     23   analysis or the Judiciary Committee              23      York. Thanks everyone.
     24   counsel could have some level of analysis,       24
     25   yeah.                                            25
                                                Page 151                                                 Page 153
      1      Q. So who would know for sure                  1     I have read the foregoing transcript
      2   whether or not the analysis was conducted?        2     of my deposition, and find it to be
      3      A. Well, there was no analysis done            3     true and accurate to the best of my
      4   that was given to the committee as a whole        4     knowledge and belief.
      5   either the ad hoc committee or the                5
      6   Judiciary Committee. I guess the lawyers          6
      7   could have received information that the          7   _________________________
      8   judiciary staff prepared, but or                  8    WM. WESTON J. NEWTON
      9   conducted, but I'm unaware of that.               9
     10      Q. Okay.                                      10   Sworn and subscribed to before me,
     11      A. You're asking me a question of             11   On this _____ day
     12   who would be aware of what I know nothing        12   of _______________ 2022.
     13   about so I can't answer that question is         13
     14   probably the most accurate response.             14
     15   Could it have been done, sure. Was it            15
     16   done, was it provided to me on either the        16   Notary_______________________
     17   ad hoc committee or the full committee,          17   My Commission Expires________
     18   no.                                              18
     19      Q. So it was not conducted in any             19
     20   kind of -- on any kind of official basis;        20
     21   is that correct?                                 21
     22          MR. MATHIAS: Objection.                   22
     23      A. Not that any official basis that           23
     24   was shared with me or with my ad hoc             24
     25   committee or the committee.                      25
                                                                                          39 (Pages 150 - 153)
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                                                    Page 154                                                        Page 156
      1          INDEX                                          1               CERTIFICATION
      2                                                         2
      3                                                         3     I, Garry J. Torres, a Notary Public
      4 WITNESS EXAMINATION BY                   PAGE
                                                                4   for and within the State of New York, do
      5
        WM. WESTON J. NEWTON MS. YAN               7/150
                                                                5   hereby certify:
      6                                                         6     That, WM. Weston J. Newton, the
        WM. WESTON J. NEWTON MR. MATHIAS 144/                   7   witness whose testimony as herein set
      7                         152                             8   forth, was duly sworn by me; and that the
      8                                                         9   within transcript is a true record of the
      9                                                        10   testimony given by said witness.
     10 E X H I B I T S                                        11     I further certify that I am not
     11 PLAINTIFF'S DESCRIPTION                PAGE            12   related to any of the parties to this
     12 Exhibit 1     Notice           15
                                                               13   action by blood or marriage, and that I am
     13 Exhibit 2     Subpoena           30
     14 Exhibit 3     Ad hoc committee      76
                                                               14   in no way interested in the outcome of
                  criteria                                     15   this matter.
     15                                                        16     IN WITNESS WHEREOF, I have hereunto
        Exhibit 4     Schedule of public 89                    17   set my hand this 29th day of April, 2022.
     16           hearings                                     18
     17 Exhibit 5     Unknown exhibit       97                          <%14994,Signature%>
     18 Exhibit 6     August 30th letter 97                    19     _______________________
     19 Exhibit 7     September 27th letter 97                 20        GARRY J. TORRES
     20 Exhibit 8     October the 8th     97
                                                               21           * * *
     21 Exhibit 9     Document           113
     22                                                        22
     23 (Exhibits attached.)                                   23
     24                                                        24
     25 INDEX CONTINUED ON NEXT PAGE                           25
                                                    Page 155                                                        Page 157
                                                               1        ERRATA SHEET
      1           I N D E X (cont'd)                                VERITEXT/NEW YORK REPORTING, LLC
                                                               2
      2                                                           CASE NAME: THE SOUTH CAROLINA STATE
      3        INSERTIONS                                       3 CONFERENCE OF THE NAACP, et al. -v-
                                                                  THOMAS C. ALEXANDER, et al.
      4     Page    Line                                        4 DATE OF DEPOSITION: APRIL 13, 2022
                                                                  WITNESS' NAME: WM. WESTON J. NEWTON
      5   None                                                  5
                                                                  PAGE/LINE(S)/ CHANGE          REASON
      6                                                         6 ____/_______/_________________/________
                                                                  ____/_______/_________________/________
      7        REQUESTS                                         7 ____/_______/_________________/________
                                                                  ____/_______/_________________/________
      8     Page   Line                                         8 ____/_______/_________________/________
                                                                  ____/_______/_________________/________
      9   None                                                  9 ____/_______/_________________/________
                                                                  ____/_______/_________________/________
     10                                                        10 ____/_______/_________________/________
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                                                               18 ____/_______/_________________/________
     19                                                           ____/_______/_________________/________
     20                                                        19 ____/_______/_________________/________
                                                               20     _______________________
     21                                                        21
                                                                       WM. WESTON J. NEWTON

     22                                                           SUBSCRIBED AND SWORN TO
                                                               22 BEFORE ME THIS______DAY
     23                                                           OF_______________, 2022.
                                                               23
     24                                                           _______________________
                                                               24 NOTARY PUBLIC
     25                                                        25 MY COMMISSION EXPIRES__________________


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                      Federal Rules of Civil Procedure

                                        Rule 30



          (e) Review By the Witness; Changes.

          (1) Review; Statement of Changes. On request by the

          deponent or a party before the deposition is

          completed, the deponent must be allowed 30 days

          after being notified by the officer that the

          transcript or recording is available in which:

          (A) to review the transcript or recording; and

          (B) if there are changes in form or substance, to

          sign a statement listing the changes and the

          reasons for making them.

          (2) Changes Indicated in the Officer's Certificate.

          The officer must note in the certificate prescribed

          by Rule 30(f)(1) whether a review was requested

          and, if so, must attach any changes the deponent

          makes during the 30-day period.




          DISCLAIMER:       THE FOREGOING FEDERAL PROCEDURE RULES

          ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

          THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

          2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

          OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
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